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                                        CHAPTER-II
                          Prevention of entry in more than one roll
                     [Rules under Section 17(4) and 49 (1) (ad) of the Act]
         1. The rules of every State Council shall provide inter alia, for a
         declaration in its form of application for enrolment.
             (a) that the name of the applicant is not on the roll of any other
                 State Council, and
             (b) that the applicant will not, so long as his name is on the roll
                 of one of the State Councils, apply for enrolment to any other
                 State Council.
         2. The Council may, on receipt of information that the name of any
         person is entered on the roll of more than one State Council, after
         hearing the person concerned, remove his name from any of the rolls
         on which his name appears and take such other action against him as
         may be called for.

                                    CHAPTER-III
               Transfer of name from one State Roll to another State Roll
                    [Rules under Section 18 and 49 (1) (b) of the Act]
         1. Any person whose name is entered on any State Roll may make
         an application to the Council for transfer under Section 18 of the Act
         in Form ‘C’ in this Chapter. The application shall be accompanied by
         (i) a certified copy of the entry in the State Roll relating to the
         applicant and (ii) a certificate from the State Council stating that his
         certificate of enrolment has not been recalled, that the applicant is
         entitled to practise on the date of his application, that there are no
         disciplinary proceedings pending against the applicant and that it has
         no objection to the transfer being ordered.
         On receipt of an application for transfer, the Secretary shall enquire
         from the State Council concerned whether they have any objections
         to the transfer being granted, and he shall thereafter place the papers
         for disposal before the Council or a Committee constituted for the
         purpose. If the Committee consider that the application shall be
         refused, the matter should be referred to the Council for orders.



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         1A. On receipt of an application for transfer, the “transferor” Bar
         Council shall transmit the entire records relating to the enrolment of
         the advocate who is seeking a transfer, to the Bar Council of India
         together with original of the application for enrolment, retaining an
         authenticated copy of the documents with the “transferor” Bar
         Council1 .
         2. (1) The order of the Council on the application for transfer shall
         ordinarily be in Form-D in the annexure to this Chapter.
             (2) The applicant for transfer shall be informed about the order
         on his application.
             (3) On receipt of a communication from the Bar Council of India
         of an order for transfer :-
             (a) it shall be the duty of the advocate who has applied for
                 transfer to produce the certificate of enrolment issued to him
                 under Section 22 of the Act for endorsement in Form D-1 in
                 this Chapter to the State Council on the roll of which his
                 name appears. The said State Council shall as expeditiously
                 as possible after the endorsement and the necessary entries in
                 its roll transmit the certificate to the State Council to which
                 the name of the Advocate is directed to be transferred ;
             (b) on receipt of the certificate endorsed as aforesaid the
                 Secretary of the latter State Council shall make a further
                 endorsement thereon in Form D-2 in this Chapter;
             (c) on such endorsement being made and the other formalities, if
                 any, required by law being complied with the transfer shall
                 be deemed to take effect from the date of the direction of the
                 Bar Council of India under Section 18 of the Act.
             (d) After the application has been allowed by the Bar Council of
                 India, the Bar Council of India shall transmit the original
                 records received from the “transferor” Bar Council to the
                 “transferee” Bar Council and in the event of the application
                 for transfer is rejected for any reason, shall be transmitted to
                 the “transferor” Bar Council2 .


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              1 . Came into force w.e.f. 6-1-2001.
              2 . Came into force w.e.f. 6-1-2001.

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             (4) A Copy of the Order on the applications for transfer made by
         the Council shall be put up on the Notice Board of the State Councils
         concerned.




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                                                      FORM - C
                                     (Under Rule I Chapter III Part V)
                                         BAR COUNCIL OF INDIA
               Application for Transfer to another Roll under Sections 18 and
         49 (1) (b) of the Advocates Act, 1961.
         From
                     ..........................................................
                     ...........................................................
                     ...........................................................
         To
                     The Secretary
                     Bar Council of India
                     New Delhi.
         Sir
         1. I request the transfer of name from the roll of the Bar Council of
         ................................... to the roll of the Bar Council of ....................
         under Section 18 of the Act for the reasons set out by me in this
         application.
         2. I was enrolled in the Bar Council of ...........................on
         .......................
         3. My name is entered on the roll of the said Bar Council
         ....................            and              my              roll     number        is
         .........................................................................
         4. I state that prior to my enrolment as aforesaid, in the Bar Council
         of ..................................... I did not make any application for
         enrolment to any other State Bar Council and that no such
         application was either withdrawn, refused or dismissed.
               (If any prior application had been made, details should be given
         here).
         5. I state that there are/are no disciplinary proceedings pending
         against me in any State Bar Council.
         6. The reasons for my application for transfer are as follow :-
               (If the application for transfer is made within 2 years of the date
               of enrolment, applicant should state the reason why even at the
               first instance he did not apply for enrolment to the Bar Council to
               which transfer is sought).
         7. After the transfer of my name to the roll of the Bar Council
         .................................. I intend to practise ordinarily at
         ............................ My permanent address after transfer will be :-
               ...............................................................
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              ..............................................................
              ..............................................................
         8. I undertake to communicate to the State Bar Council to which my
         name is to be transferred, any change in the said address.
         9. Till the transfer is effected all communications may please be sent
         to the following address :-
              ...............................................................
              ..............................................................
              ..............................................................
              I undertake to furnish any further information that may be
         necessary in reply to any communication that may be sent to the said
         address till the transfer is ordered.
              10. I enclose herewith :
               (i) A certified copy of entry in the State Roll.
              (ii) A certificate from the State Bar Council as prescribed in
                      Rule 1 (2) in Part V Chapter III.
              I hereby declare that the facts stated herein are true.

         Place :                                                                 Signature of the Advocate
         Date :                                                                            (Applicant)
                                                   FORM - D
                                           BAR COUNCIL OF INDIA
                                          Order on Transfer Applications
             RESOLVED that the names of the following persons be removed from and
         entered in the rolls of the State Bar Councils as shown against their names :
         Transfer              Name as in                 Date of entry as                 Date of enrolment
         Application           the State                  Vakil, Pleader or                         under the
         No.                   Roll                       Attorney if any                  BC/Advocates Act

              1                  2                                 3                                     4

         Date of            On the               Transfer to               Permanent               If enrolled in
         birth              roll of              the roll of               address after              Supreme
                                                                           transfer                  Court date
                                                                                                       of such
                                                                                                     enrolment

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         5                           6                            7                              8                               9

                                                                 FORM D - 1
                 Name transferred to the roll of the Bar Council of ....................... by order of
         the Bar Council of India made under resolution No .......................... dated
         ................................................................................................................................. Date
         ................................ Secretary, Bar Council of .................................

                                                                 FORM D - 2
                On transfer from the roll of the Bar Council of ............................. with Roll No
         ................... (vide BCI Order dated .................... and communication of State Bar
         Council of ............................ Dated ..................) the name is entered in the State
         Roll of Bar Council of ............................... vide Roll No. .....................................
         Dated .............................
         Date :                                   Secretary, Bar Council of .................................
                                     CHAPTER - IV
                               Seniority in the State Rolls
             [Rules under Sections 17 (3), 20 and 49 (1) (i) (ac) of the Act]
         1. Seniority of Vakils, Pleaders and Attorneys not entitled to
         practise in the High Court :-The seniority of a Vakil, Pleader or
         Attorney, who was not entitled to practise in the High Court, and
         who was enrolled as an advocate immediately before the appointed
         day or who was enrolled after that day shall be determined according
         to the date of enrolment as advocate.
         2. Seniority of other Advocates : (1) The seniority of other
         advocates referred to in Section 17 (1) (a) shall :-
             (a) in the case of persons whose names were entered in the rolls
                 under Section 8 (3) (a) of the Indian Bar Councils Act, 1926,
                 be the date from which their seniority was reckoned in the
                 said rolls;
             (b) in the case of persons admitted as advocates under Section
                 58 A of the Act, be the dates of their first admission when
                 they were entitled to practise in the High Court of Allahabad
                 or the Chief Court of Oudh or the other High Courts or the
                 Judicial Commissioners’ Court mentioned in sub-sections
                 (2), (3) and (4) of the said Section 58 A;


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              (c) in the case of persons admitted as advocates under Section
                   58AA of the Act, be the date when they were first entitled to
                   practise the profession of law under the law enforced in the
                   Union Territory of Pondicherry;
              (d) in the case of the other persons be determined in accordance
                   with the date of enrolment under the Indian Bar Councils
                   Act, 1926.
              Proviso to (a), (b), (c) and (d), :- Provided that in the case of a
         person whose name had been entered on the rolls of more than one
         High Court, the date as shown in the High Court in which he was
         first enrolled shall be taken as the date for entry for purpose of
         seniority in the rolls under Section 17 (1) (a) of the Advocates Act,
         1961.
              (2) In the case of the persons referred to in Section 58 AE of the
         Act, be the date when they were first entitled to practise the
         profession of law as provided for in Section 58AE.
              (3) In the case of the persons referred to in Section 58AF of the
         Act, the date on which they are deemed to be advocates.
         3. In cases not covered by any of the rules previous in this Chapter,
         or in case of doubt, the seniority shall on a reference by a State
         Council, be according to the dates as may be determined by the
         Council.
         4. Seniority of Senior Advocates of the Supreme Court : The
         seniority of a senior advocate enrolled before the appointed day shall
         be determined in accordance with the date of his enrolment as senior
         advocate.

                                                    CHAPTER V
             Special provision for enrolment of certain Supreme Court
                                      advocates
            (Rules Under Section 20 read with Section 49 (1) (i) of the Act)
         1. Any Advocate who was entitled as of right to practise in the
         Supreme Court immediately before the appointed day and whose
         name is not entered in any State Roll may within 31st December,
         1974 express his intention in the form prescribed under this rule to


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         the Bar Council of India for entry of his name in the roll of any State
         Bar Council.
         2. The notification of the Bar Council of India prescribing the date
         shall be published in the Gazette of India, and copies thereof sent to
         all Bar Councils. The notification or a gist thereof shall also be
         published in at least one English Newspaper in Delhi and one
         English Newspaper in every State.




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                                BAR COUNCIL OF INDIA
                   Intimation under Section 20 of the Advocates Act, 1961
                        (Unnecessary columns/entries to be struck out)
         To
                      The Secretary
                      Bar Council of India,
                      21, Rouse Avenue, Institutional Area
                      NEW DELHI - 110 002.
         1. I, ........................................................ (name in block letters),
         residing
         at.........................................................................................................
         ............................................................................................................
         ..................
         was entitled as of right to practise in the Supreme Court of India
         immediately before the appointed day viz., 1-12-1961.
         2A. I was enrolled on .......................................... as an Advocate of
         the Supreme Court of India and was entitled as of right to practise in
         the Supreme Court immediately before the appointed day viz 1-12-
         1961.
         I have not expressed to any State Bar Council my intention to
         practise under Section 17 (1) (a) of the Advocates Act, 1961.
                                                            OR
         2B. (i) I was first enrolled as an Advocate of the Supreme Court of
         India on ..................................... and was entitled as of right to
         practise in the Supreme Court immediately before the appointed day
         viz., 1-12-1961.
               (ii) I was enrolled later as Senior Advocate of the Supreme Court
         of India on ...........................................
               My           Roll           Number              as         Senior            Advocate              is
         ............................................. I have not expressed to any Stare Bar
         Council my intention to practise under Section 17 (1) (a) of the
         Advocates Act, 1961.
         3. (To be entered if in service) On the date of this intimation, I am in
         service                   (Particulars                       to                be                 given)
         ...........................................................
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               I undertake to intimate my intention to resume practise to the
         State Bar Council mentioned in column 4.
               4. I hereby express my intention as mentioned under Section 20
         of the Advocate Act, (as amended ) for the entry of my name in the
         roll                of                the                 Bar                 Council of
         .............................................................................
         ............................................................................................................
         ..........I declare that the facts set out in this form are correct.
                                                                                                   (Signature)
         Date ................................................
         Place ................................................
         Address ............................................
         ...........................................................
         ..........................................................


                                                      PART - VI
                                RULES GOVERNING ADVOCATES

                                       CHAPTER -I
                             Restrictions on Senior Advocates
                    (Rules Under Sections 16 (3) and 49 (1) (g) of the Act)
             Senior Advocates shall, in the matter of their practice of the
         profession of law mentioned in Section 30 of the Act, be subject to
         the following restrictions:
             (a) A Senior Advocate shall not file a vakalatnama or act in any
                  Court, or Tribunal, or before any person or other authority
                  mentioned in Section 30 of the Act.
             Explanation : “To act” means to file an appearance or any
         pleading or application in any court or Tribunal or before any person
         or other authority mentioned in Section 30 of the Act, or to do any
         act other than pleading required or authorised by law to be done by a
         party in such Court or Tribunal or before any person or other

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         authorities mentioned in the said Section either in person or by his
         recognised agent or by an advocate or an attorney on his behalf.
             (b) (i) A Senior Advocate shall not appear without an Advocate
                     on Record in the Supreme Court or without an Advocate
                     in Part II of the State Roll in any court or Tribunal or
                     before any person or other authorities mentioned in
                     Section 30 of the Act.
                    (ii) Where a Senior Advocate has been engaged prior to the
                         coming into force of the rules in this Chapter, he shall
                         not continue thereafter unless an advocate in Part II of
                         the State Roll is engaged along with him. Provided that a
                         Senior Advocate may continue to appear without an
                         advocate in Part II of the Sate Roll in cases in which he
                         had been briefed to appear for the prosecution or the
                         defence in a criminal case, if he was so briefed before he
                         is designated as a senior advocate or before coming into
                         operation of the rules in this Chapter as the case may be.
               (c) He shall not accept instructions to draft pleading or
                   affidavits, advice on evidence or to do any drafting work of
                   an analogous kind in any Court or Tribunal or before any
                   person or other authorities mentioned in Section 30 of the
                   Act or undertake conveyancing work of any kind
                   whatsoever. This restriction however shall not extend to
                   settling any such matter as aforesaid in consultation with an
                   advocate in Part II of the State Roll.
               (cc) A Senior Advocate shall, however, be free to make
                    concessions or give undertaking in the course of arguments
                    on behalf of his clients on instructions from the junior
                    advocate.
               (d) He shall not accept directly from a client any brief or
                   instructions to appear in any Court or Tribunal or before any
                   person or other authorities in India.
               (e) A Senior Advocate who had acted as an Advocate (Junior)
                   in a case, shall not after he has been designated as a Senior
                   Advocate advise on grounds of appeal in a Court of Appeal
                   or in the Supreme Court, except with an Advocate as
                   aforesaid.
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              (f) A Senior Advocate may in recognition of the services
                  rendered by an Advocate in Part-II of the State Roll
                  appearing in any matter pay him a fee which he considers
                  reasonable.


                                      CHAPTER - II
                   Standards of Professional Conduct and Etiquette
             (Rules under Section 49 (1) (c) of the Act read with the Proviso
                                          thereto)
                                         Preamble
              An advocate shall, at all times, comport himself in a manner
         befitting his status as an officer of the Court, a privileged member of
         the community, and a gentleman, bearing in mind that what may be
         lawful and moral for a person who is not a member of the Bar, or for
         a member of the Bar in his non-professional capacity may still be
         improper for an advocate. Without prejudice to the generality of the
         foregoing obligation, an advocate shall fearlessly uphold the interests
         of his client and in his conduct conform to the rules hereinafter
         mentioned both in letter and in spirit. The rules hereinafter
         mentioned contain canons of conduct and etiquette adopted as
         general guides; yet the specific mention thereof shall not be
         construed as a denial of the existence of others equally imperative
         though not specifically mentioned.
         Section I - Duty to the Court
         1. An advocate shall, during the presentation of his case and while
         otherwise acting before a court, conduct himself with dignity and
         self-respect. He shall not be servile and whenever there is proper
         ground for serious complaint against a judicial officer, it shall be his
         right and duty to submit his grievance to proper authorities.
         2. An advocate shall maintain towards the courts a respectful
         attitude, bearing in mind that the dignity of the judicial office is
         essential for the survival of a free community.
         3. An advocate shall not influence the decision of a court by any
         illegal or improper means. Private communications with a judge
         relating to a pending case are forbidden.
         4. An advocate shall use his best efforts to restrain and prevent his
         client from resorting to sharp or unfair practices or from doing
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         anything in relation to the court, opposing counsel or parties which
         the advocates himself ought not to do. An advocate shall refuse to
         represent the client who persists in such improper conduct. He shall
         not consider himself a mere mouth-piece of the client, and shall
         exercise his own judgement in the use of restrained language in
         correspondence, avoiding scurrilous attacks in pleadings, and using
         intemperate language during arguments in court.




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         5. An advocate shall appear in court at all times only in the
         prescribed dress, and his appearance shall always be presentable.
         6. An advocate shall not enter appearance, act, plead or practise in
         any way before a court, Tribunal or Authority mentioned in Section
         30 of the Act, if the sole or any member thereof is related to the
         advocate as father, grandfather, son, grand-son, uncle, brother,
         nephew, first cousin, husband, wife, mother, daughter, sister, aunt,
         niece, father-in-law, mother-in-law, son-in-law, brother-in-law
         daughter-in-law or sister-in-law.
              * For the purposes of this rule, Court shall mean a Court, Bench
         or Tribunal in which above mentioned relation of the Advocate is a
         Judge, Member or the Presiding Officer.
         7. An advocate shall not wear bands or gown in public places other
         than in courts except on such ceremonial occasions and at such
         places as the Bar Council of India or the court may prescribe.
         8. An advocate shall not appear in or before any court or tribunal or
         any other authority for or against an organisation or an institution,
         society or corporation, if he is a member of the Executive Committee
         of such organisation or institution or society or corporation.
         “Executive
         Committee ”, by whatever name it may be called, shall include any
         Committee or body of persons which, for the time being, is vested
         with the general management of the affairs of the organisation or
         institution, society or corporation.
              Provided that this rule shall not apply to such a member
         appearing as “amicus curiae” or without a fee on behalf of a Bar
         Council, Incorporated Law Society or a Bar Association.
         9. An Advocate should not act or plead in any matter in which he is
         himself pecuniarily interested.
         Illustration :
             I. He should not act in a bankruptcy petition when he himself is
                 also a creditor of the bankrupt.
            II. He should not accept a brief from a company of which he is a
                 Director.


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              * Dt. of this Rules 16-2-91 Proviso added by resolution no 11/91

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         10. An Advocate shall not stand as a surety, or certify the soundness
         of a surety for his client required for the purpose of any legal
         proceedings.
         Section II Duty to the Client
         11. An advocate is bound to accept any brief in the Courts or
         Tribunals or before any other authorities in or before which he
         proposes to practise at a fee consistent with his standing at the Bar
         and the nature of the case. Special circumstances may justify his
         refusal to accept a particular brief.
         12. An advocate shall not ordinarily withdraw from engagements,
         once accepted, without sufficient cause and unless reasonable and
         sufficient notices is given to the client. Upon his withdrawal from a
         case, he shall refund such part of the fee as has not been earned.
         13. An advocate should not accept a brief or appear in a case in
         which he has reason to believe that he will be a witness, and if being
         engaged in a case, it becomes apparent that he is a witness on a
         material question of fact, he should not continue to appear as an
         Advocate if he can retire without jeopardising his client’s interests.
         14. An advocate shall at the commencement of his engagement and
         during the continuance thereof, make all such full and frank
         disclosure to his client relating to his connection with the parties and
         any interest in or about the controversy as are likely to affect his
         client’s judgement in either engaging him or continuing the
         engagement.
         15. It shall be the duty of an advocate fearlessly to uphold the
         interests of his client by all fair and honourable means without regard
         to any unpleasant consequences to himself or any other. He shall
         defend a person accused of a crime regardless of his personal
         opinion as to the guilt of the accused, bearing in mind that his loyalty
         is to the law which requires that no man should be convicted without
         adequate evidence.
         16. An advocate appearing for the prosecution of a criminal trial
         shall so conduct the prosecution that it does not lead to conviction of
         the innocent. The suppression of material capable of establishment
         the innocence of the accused shall be scrupulously avoided.
         17. An advocate shall not, directly or indirectly, commit a breach of
         the obligations imposed by Section 126 of the Indian Evidence Act.


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         18. An advocate shall not, at any time, be a party to fomenting of
         litigation.
         19. An advocate shall not act on the instructions of any person other
         than his client or his authorised agent.
         20. An advocate shall not stipulate for a fee contingent on the results
         of litigation or agree to share the proceeds thereof.
         21. An advocate shall not buy or traffic in or stipulate for or agree to
         receive any share or interest in any actionable claim. Nothing in this
         rule shall apply to stock, shares and debentures of government
         securities, or to any instruments which are, for the time being, by law
         or custom, negotiable or to any mercantile document of title to
         goods.
         22. An advocate shall not, directly or indirectly, bid for or purchase,
         either in his own name or in any other name, for his own benefit or
         for the benefit of any other person, any property sold in the
         execution of a decree or order in any suit, appeal or other proceeding
         in which he was in any way professionally engaged. This
         prohibition, however, does not prevent an advocate from bidding for
         or purchasing for his client any property which his client may
         himself legally bid for or purchase, provided the Advocate is
         expressly authorised in writing in this behalf.
         22A. An advocate shall not directly or indirectly bid in court auction
         or acquire by way of sale, gift, exchange or any other mode of
         transfer either in his own name or in any other name for his own
         benefit or for the benefit of any other person any property which is
         subject matter of any suit appeal or other proceedings in which he is
         in any way professionally engaged* .
         23. An advocate shall not adjust fee payable to him by his client
         against his own personal liability to the client, which liability does
         not arise in the course of his employment as an advocate.
         24. An advocate shall not do anything whereby he abuses or takes
         advantage of the confidence reposed in him by his client.
         25. An advocate should keep accounts of the client’s money
         entrusted to him, and the accounts should show the amounts
         received from the client or on his behalf, the expenses incurred for
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              * Rule 22A came into force w.e.f. 24-9-1998.

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         him and the debits made on account of fees with respective dates and
         all other necessary particulars.
         26. Where moneys are received from or on account of a client, the
         entries in the accounts should contain a reference as to whether the
         amounts have been received for fees or expenses and during the
         course of the proceeding, no advocates shall, except with the consent
         in writing of the client concerned, be at liberty to divert any portion
         of the expenses towards fees.
         27. Where any amount is received or given to him on behalf of his
         client, the fact of such receipt must be intimated to the client, as early
         as possible.
         28. After the termination of the proceeding, the advocate shall be at
         liberty to appropriate towards the settled fee due to him, any sum
         remaining unexpended out of the amount paid or sent to him for
         expenses or any amount that has come into his hands in that
         proceeding.
         29. Where the fee has been left unsettled, the advocate shall be
         entitled to deduct, out of any moneys of the client remaining in his
         hands, at the termination of the proceeding for which he had been
         engaged, the fee payable under the rules of the Court, in force for the
         time being, or by then settled and the balance, if any, shall be
         refunded to the client.
         30. A copy of the client’s account shall be furnished to him on
         demand provided the necessary copying charge is paid.
         31. An advocate shall not enter into arrangements whereby funds in
         his hands are converted into loans.
         32. An advocate shall not lend money to his client for the purpose of
         any action or legal proceedings in which he is engaged by such
         client.
             Explanation. An advocate shall not be held guilty for a breach of
         this rule, if in the course of a pending suit or proceeding, and without
         any arrangement with the client in respect of the same, the advocate
         feels compelled by reason of the rule of the Court to make a payment
         to the Court on account of the client for the progress of the suit or
         proceeding.
         33. An advocate who has, at any time, advised in connection with
         the institution of a suit, appeal or other matter or has drawn

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         pleadings, or acted for a party, shall not act, appear or plead for the
         opposite party.
         Section III - Duty to Opponent
         34. An advocate shall not in any way communicate or negotiate
         upon the subject matter of controversy with any party represented by
         an advocate except through that advocate.
         35. An advocate shall do his best to carry out all legitimate promises
         made to the opposite party even though not reduced to writing or
         enforceable under the rules of the Court.
         Section IV - Duty to Colleagues
         36. An advocate shall not solicit work or advertise, either directly or
         indirectly, whether by circulars, advertisements, touts, personal
         communications, interviews not warranted by personal relations,
         furnishing or inspiring newspaper comments or producing his
         photographs to be published in connection with cases in which he
         has been engaged or concerned. His sign-board or name-plate
         should be of a reasonable size. The sign-board or name-plate or
         stationery should not indicate that he is or has been President or
         Member of a Bar Council or of any Association or that he has been
         associated with any person or organisation or with any particular
         cause or matter or that he specialises in any particular type of worker
         or that he has been a Judge or an Advocate General.
              That this Rule will not stand in the way of advocates furnishing
         website information as prescribed in the Schedule under intimation to
         and as approved by the Bar Council of India. Any additional other
         input in the particulars than approved by the Bar Council of India
         will be deemed to be violation of Rule 36 and such advocates are
         liable to be proceeded with misconduct under Section 35 of the
         Advocates Act, 1961.**
                                                    SCHEDULE
          1.         Name
          2.         Address
                     Telephone Numbers
                     E-mail id
         ————————————————————————————————————————————————

               ** Added vide Res. No. 50/2008 dt. 24-3-2008.


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          3 (a)       Enrolment Number
            (b)       Date of Enrolment
            (c)       Name of State Bar Council where
                      originally enrolled
               (d)    Name of State Bar Council on whose
                      roll name stands currently
               (e)    Name of the Bar Association of which
                      the Advocate is Member
          4.          Professional        and      Academic
                      Qualifications
          5.          Areas of Practice (Eg.: Civil Criminal
                      Taxation, Labour etc.)

                                                                             (NAME & SIGNATURE)
         Declaration :
               I hereby declare that the information given is true.


                                                                             (NAME & SIGNATURE)
         37. An advocate shall not permit his professional services or his
         name to be used in aid of, or to make possible, the unauthorised
         practice of law by any law agency.
         38. An advocate shall not accept a fee less than the fee taxable under
         rules when the client is able to pay the same.
         39. An advocate shall not enter appearance in any case in which
         there is already a vakalat or memo of appearance filed by an
         advocate engaged for a party except with his consent; in case such
         consent is not produced he shall apply to the Court stating reasons
         why the said consent could not be produced and he shall appear only
         after obtaining the permission of the Court1 .
         Section IV-A2
         ————————————————————————————————————————————————


               1 . Rule modified by addition of words “in case..............court” w.e.f. 5-6-1976.
               2 . Section 4A : Revised rules came into effect from 1-4-1984 (Rules 47 to 54 re-
         numbered as 45 to 52)
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         40. Every Advocate borne on the rolls of the State Bar Council shall
         pay to the State Bar Council a sum of Rs. 300/- every third year
         commencing from 1st August, 2001 along with a statement of
         particulars as given in the form set out at the end of these Rules, the
         first payment to be made on or before 1st August, 2001 or such
         extended time as notified by the Bar Council of India or the
         concerned State Bar Council.
             Provided further however that an advocate shall be at liberty to
         pay in lieu of the payment of Rs. 600/-3 every three years a
         consolidated amount of Rs. 1,000/- . This will be a life time payment
         to be kept in the fixed deposit by the concerned State Bar Council.
         Out of life time payment, 80% of the amount will be retained by the
         State Bar Council in a fixed deposit and remaining 20% has to be
         transferred to the Bar Council of India. The Bar Council of India and
         State Bar Council have to keep the same in a fixed deposit and the
         interest on the said deposits shall alone be utilized for the Welfare of
         the Advocates”** .
             Explanation 1 : Statement of particulars as required by rule 40 in
         the form set out shall require to be submitted only once in three
         years.
             Explanation 2. The Advocates who are in actual practise and are
         not drawing salary or not in full time service and not drawing salary
         from their respective employers are only required to pay the amount
         referred to in this rule.
             Explanation 3. This rule will be effective from 1-10-2006 and
         for period prior to this, advocates will continue to be covered by old
         rule.
         41. (1) All the sums so collected by the State Bar Council in
         accordance with Rule 40 shall be credited in a separate fund known
         as “Bar Council of India Advocates Welfare Fund” and shall be
         deposited in the bank as provided hereunder.

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              3 . Contribution enhancement vide Resolution No. 130/2006 dt. 16-9-2006
              ** Proviso to Rule 40 amended vide Res. No. 66/2001 dt. 22-6-2001 w.e.f.
         1-8-2001.

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             (2) The Bar Council of India Advocates Welfare Fund Committee
         for the State shall remit 20% of the total amount collected and
         credited to its account, to the Bar Council of India by the end of
         every month which shall be credited by the Bar Council of India and
         Bar Council of India shall deposit the said amount in separate fund to
         be known as “BAR COUNCIL OF INDIA ADVOCATES WELFARE
         FUND.” This fund shall be managed by the Welfare Committee of
         the Bar Council of India in the manner prescribed from time to time
         by the Bar Council of India for the Welfare of Advocates.
             (3) The rest 80% of the total sum so collected by the Bar Council
         of India Advocates Welfare Fund Committee for the State under Rule
         41 (1) shall be utilised for the welfare of advocates in respect of
         Welfare Schemes sponsored by the respective State Bar Councils and
         this fund shall be administered by the Advocates Welfare Committee
         for the State which shall submit its report annually to the Bar Council
         of India.
             (4) In case of transfer of an advocate from one State Bar Council
         to other State Bar Council, 80% of the total sum collected so far in
         respect of that advocate by the Bar Council of India Advocates
         Welfare Committee for the State under Rule 41 (1) where the said
         Advocate was originally enrolled, would get transferred to the
         Advocates Welfare Fund Committeed of the Bar Council of India for
         the State to which the said Advocate has got himself transferred* .
         42. If any advocate fails to pay the aforesaid sum within the
         prescribed time as provided under rule 40, the Secretary of the State
         Bar Council shall issue to him a notice to show cause within a month
         why his right to practice be not suspended. In case the advocate pays
         the amount together with late fee of Rs. 5/- per month, or a part of a
         month subject to a maximum of Rs. 30/- within the period specified
         in notice, the proceedings shall be dropped. If the advocate does not
         pay the amount or fails to show sufficient cause, a Committee of
         three members constituted by the State Bar Council in this behalf
         may pass an order suspending the right of the advocate to practise.
             Provided that the order of suspension shall cease to be in force
         when the advocate concerned pays the amount along with a late fee
         of Rs. 50/- and obtain a certificate in this behalf from the State Bar
         Council.
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               * Sub-rule(4) of Rule 41 came into force w.e.f. 3-11-1995.

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         43. An Advocate who has been convicted of an offence mentioned
         under Section 24A of the Advocates Act or has been declared
         insolvent or has taken full time service or part time service or
         engages in business or any avocation inconsistent with his practising
         as an advocate or has incurred any disqualification mentioned in the
         Advocates Act or the rules made thereunder, shall send a declaration
         to that effect to the respective State Bar Council in which the
         advocate is enrolled, within ninety days from the date of such
         disqualification. If the advocate does not file the said declaration or
         fails to show sufficient cause for not filing such declaration provided
         therefor, the Committee constituted by the State Bar Council under
         rule 42 may pass orders suspending the right of the advocate to
         practise.
              Provided that it shall be open to the Committee to condone the
         delay on an application being made in this behalf.
              Provided further that an advocate who had after the date of his
         enrolment and before the coming into force of this rule, become
         subject to any of the disqualifications mentioned in this rule, shall
         within a period of ninety days of the coming into force of this rule
         send declaration referred to in this rule to the respective State Bar
         Council in which the Advocate is enrolled and on failure to do so by
         such advocate all the provisions of this rule would apply.
         44. An appeal shall lie to the Bar Council of India at the instance of
         an aggrieved advocate within a period of thirty days from the date of
         the order passed under Rules 42 and 43.
         44A. (1) There shall be a Bar Council of India Advocates Welfare
         Committee, consisting of five members elected from amongst the
         members of the Council. The term of the members of the committee
         shall be co-extensive with their term in Bar Council of India.*
               (2) (i) Every State Council shall have an Advocates Welfare
                       Committee known as Bar Council of India Advocates
                       Welfare Committee for the State.
                     (ii) The Committee shall consist of member Bar Council of
                          India from the State concerned who shall be the Ex-
                          Officio Chairman of the Committee and two members
                          elected from amongst the members.
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              * Amended vide Resolution No. 78 of 1985 dated 27th and 28th July, 1985.

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                    (iii) The Secretary of the State Bar Council concerned will
                          act as Ex-Officio Secretary of the Committee.
                    (iv) The term of the member, Bar Council of India in the
                         Committee shall be co-extensive with his term in the
                         Bar Council of India.
                     (v) The term of the members elected from the State Bar
                         Council shall be two years.
                    (vi) Two members of the Committee will form a quorum of
                         any meeting of the Committee.
             (3) Every State Bar Council shall open an account in the name of
         the Bar Council of India Welfare Committee for the State, in any
         nationalised Bank,
             (4) No amount shall be withdrawn from the Bank unless that
         cheque is signed by the Chairman of the Welfare Committee and its
         Secretary.
             (5) The State Bar Council shall implement Welfare Schemes
         approved by the Bar Council of India through Advocates Welfare
         Committee as constituted under sub-clause (2) (i). The State Bar
         Councils may suggest suitable modifications in the Welfare Schemes
         or suggest more schemes, but such modifications or such suggested
         schemes shall have effect only after approval by the Bar Council of
         India.
             (6) The State Bar Council shall maintain separate account in
         respect of the Advocate Welfare Fund which shall be audited
         annually along with other accounts of the State Bar Council and send
         the same along with Auditors Report to the Bar Council of India.
             Provided that the Bar Council of India Advocates Welfare Fund
         Committee for the State shall be competent to appoint its own staff in
         addition to the staff of the Bar Council of the State entrusted with
         duty to maintain the account of the Fund if their funds are adequate
         to make such appointment. The salary and other conditions of the
         said staff be determined by the Bar Council of India Advocates
         Welfare Fund Committee for the State.*
             Provided further that Chairman of the Bar Council of India
         Advocates Welfare Fund Committee for the State shall be competent
         ————————————————————————————————————————————————

               * Came into force w.e.f. 10th Feb. 1996 (Resolution No. 25/96)

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         to make temporary appointment for a period not exceeding six
         months in one transaction if the situation so requires subject to
         availability of fund in the said Committee for making such
         appointment.*
             44B. The Bar Council of India shall utilise the funds received
         under Rule 41(2) in accordance with the schemes which may be
         framed from time to time.**




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              ** Rules framed for Scheme No. IV are given separetely.


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                                          FORM UNDER RULE 40
         Bar Council of ...........................................
         .......................................................................
         Dear Sirs,
               (1) I am enclosing herewith a Postal Order/Bank Draft/Cash for
         ........................... being the payment under Rule 40. Chapter II, Part
         VI of the Rules of the Bar Council of India.
               (2) I am enrolled as an Advocate on the Rolls of your State Bar
         Council.
               (3) I am ordinarily practising at ..................................................
         in the territory/ State of .......................................
               (4) I am a member of the ......................................... Bar
         Association/not a member of any Bar Association.
               (5) My                           present                          address         is
         ......................................................................

         DATED                                                            SIGNATURE
         PLACE                                      NAME IN BLOCK LETTERS
                                                      ENROLMENT NO ...........
         Received a sum of Rs. .................. from ........................................
         towards payment under Rule 40, Chapter II, Part VI of the Rules of
         the Bar Council of India by way of Postal Order/Bank Draft/Cash on
         ...............................

         DATED:                                                                     SECRETARY
         PLACE :                                                            BAR COUNCIL OF ........




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         SCHEME FOR FINANCIAL ASSISTANCE TO STATE BAR
         COUNCILS AND INDIVIDUALS UNDER RULE 44B OF THE
         BAR COUNCIL OF INDIA RULES*
         1. These rules shall be known as the Scheme for Financial Assistance
         to the State Bar Councils under Rule 44B of the Bar Council of India
         Rules.
         2. The Scheme shall come into force immediately.
         3. These schemes shall be applicable to only such State Bar Councils
         which have remitted the sum in accordance with the Rule 41 (2) of
         the Bar Council of India.
         4. That on receiving information from the Chairman of the State Bar
         Council or Member, Bar Council of India from that State, the
         Chairman, Bar Council of India on being satisfied by such report
         may immediately sanction a reasonable amount not exceeding Rs.
         20,000/-** in an individual case and Rs. 50,000/-** in case of some
         calamity involving more than one advocate and shall report to the
         Advocates Welfare Committee of the Bar Council of India. The
         financial assistance to the State Bar Councils will be available in any
         of the following cases : —
           (a) The advocate or advocates have suffered seriously on account
                of some natural calamity or ;
           (b) the advocate or advocates have died an unnatural death, due
                to an accident or natural calamity or any other cause of like
                nature, or;
           (c) the advocate or advocates have suffered or is suffering from
                such serious disease or illness which is likely to cause death if
                no proper treatment is given and the advocate requires
                financial assistance without which he would not be able to get
                proper treatment and has no personal assets except a
                residential house to meet such expenditures, or;
           (d) the advocate or advocates become physically disabled or
                incapacitated to continue his profession on account of natural
                calamity or accident or any other cause of like nature.
         5. That the amount sanctioned under Rule 4 shall be placed at the
         disposal of the Advocates Welfare Committee of the Bar Council of
         India for the State and the said State Committee shall maintain

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              * Came into force w.e.f. July 1998 vide Resolution No. 64/1998.
              ** w.e.f. 22-11-2008 vide Resolution No. 146/2008

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         separate account and send the same to the Bar Council of India
         within three months from the date of the receipt thereof.
         6. That the Advocates Welfare Committee of the Bar Council of
         India on receiving such applications duly recommended by the State
         Bar Councils, may sanction a sum provided in the different schemes
         prepared by the Bar Council of India.
         Section V-Duty in imparting training
         45. It is improper for an advocate to demand or accept fees or any
         premium from any person as a consideration for imparting training in
         law under the rules prescribed by State Bar Council to enable such
         person to qualify for enrolment under the Advocates Act, 1961.
         Section VI-Duty to Render Legal Aid
         46. Every advocate shall in the practice of the profession of law bear
         in mind that any one genuinely in need of a lawyer is entitled to legal
         assistance even though he cannot pay for it fully or adequately and
         that within the limits of an Advocate’s economic condition, free legal
         assistance to the indigent and oppressed is one of the highest
         obligations an advocate owes to society.
         Section VII-Restriction on other Employments
         47. An advocate shall not personally engage in any business; but he
         may be a sleeping partner in a firm doing business provided that in
         the opinion of the appropriate State Bar Council, the nature of the
         business is not inconsistent with the dignity of the profession.
         48. An advocate may be Director or Chairman of the Board of
         Directors of a Company with or without any ordinarily sitting fee,
         provided none of his duties are of an executive character. An
         advocate shall not be a Managing Director or a Secretary of any
         Company.
         49. An advocate shall not be a full-time salaried employee of any
         person, government, firm, corporation or concern, so long as he
         continues to practise, and shall, on taking up any such employment,
         intimate the fact to the Bar Council on whose roll his name appears
         and shall thereupon cease to practise as an advocate so long as he
         continues in such employment.
             * “That as Supreme Court has struck down the appearance by
         Law Officers in Court even on behalf of their employers the
         Judgement will operate in the case of all Law Officers. Even if they
         were allowed to appear on behalf of their employers all such Law
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               * Vide Resolution No. 156/2001

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         Officers who are till now appearing on behalf of their employers
         shall not be allowed to appear as advocates. The State Bar Council
         should also ensure that those Law Officers who have been allowed to
         practice on behalf of their employers will cease to practice. It is made
         clear that those Law Officers who after joining services obtained
         enrolment by reason of the enabling provision cannot practice even
         on behalf their employers.”
             * “That the Bar Council of India is of the view that if the said
         officer is a whole time employee drawing regular salary, he will not
         be entitled to be enrolled as an advocate. If the terms of employment
         show that he is not in full time employment he can be enrolled.”
         50. An advocate who has inherited, or succeeded by survivorship to
         a family business may continue it, but may not personally participate
         in the management thereof. He may continue to hold a share with
         others in any business which has decended to him by survivorship or
         inheritance or by will, provided he does not personally participate in
         the management thereof.
         51. An advocate may review Parliamentary Bills for a remuneration,
         edit legal text books at a salary, do press-vetting for newspapers,
         coach pupils for legal examination, set and examine question papers;
         and subject to the rules against advertising and full-time
         employment, engage in broadcasting, journalism, lecturing and
         teaching subjects, both legal and non-legal.
         52. Nothing in these rules shall prevent an advocate from accepting
         after obtaining the consent of the State Bar Council, part-time
         employment provided that in the opinion of the State Bar Council,
         the nature of the employment does not conflict with his professional
         work and is not inconsistent with the dignity of the profession. This
         rule shall be subject to such directives if any as may be issued by the
         Bar Council India from time to time.
                                    CHAPTER - III
                           (Conditions for right to practice)
                      (Rules under Section 49 (1) (ah) of the Act)
         1. Every advocate shall be under an obligation to see that his name
         appears on the roll of the State Council within whose jurisdiction he
         ordinarily practices.
         PROVIDED that if an advocate does not apply for transfer of his
         name to the roll of the State Bar Council within whose jurisdiction he
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              * Vide Resolution No. 113/2002

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         is ordinarily practising within six months of the start of such practice,
         it shall be deemed that he is guilty of professional misconduct within
         the meaning of Section 35 of the Advocates Act.
         2. An advocate shall not enter into a partnership or any other
         arrangement for sharing remuneration with any person or legal
         practitioner who is not an advocate.
         3. Every advocate shall keep informed the Bar Council on the roll of
         which his name stands, of every change of his address.
         4. The Council or a State Council can call upon an advocate to
         furnish the name of the State Council on the roll of which his name is
         entered, and call for other particulars.
         5. (1) An advocate who voluntarily suspends his practice for any
         reason whatsoever, shall intimate by registered post to the State Bar
         Council on the rolls of which his name is entered, of such
         suspensions together with his certificate of enrolment in original.
              (2) Whenever any such advocate who has suspended his practice
         desires to resume his practice, he shall apply to the Secretary of the
         State Bar Council for resumption of practice, along with an affidavit
         stating whether he has incurred any of the disqualifications under
         Section 24A, Chapter III of the Act during the period of suspension.
              (3) The Enrolment Committee of the State Bar Council may order
         the resumption of his practice and return the certificate to him with
         necessary endorsement. If the Enrolment Committee is of the view
         that the advocate has incurred any of the disqualifications, the
         Committee shall refer the matter under proviso to Section 26(1) of
         the Act.
              (4) On suspension and resumption of practice the Secretary shall
         act in terms of Rule 24 of Part IX.
         6. (1) An advocate whose name has been removed by order of the
         Supreme Court or a High Court or the Bar Council as the case may
         be, shall not be entitled to practice the profession of law either before
         the Court and authorities mentioned under Section 30 of the Act, or
         in chambers or otherwise.
         (2) An advocate who is under suspension, shall be under same
         disability during the period of such suspension as an advocate whose
         name has been removed from the roll.
         Modified Rule *
         Rule 7. “An officer after his retirement or otherwise ceasing to be in
         service for any reasons, if enrolled as an Advocate shall not practice
         in any of the Judicial, administrative Courts/ Tribunals/ authorities
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               * Amended vide decision dt. 14-10-2007.

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which are presided over by an officer equivalent or lower to the post which such officer
last held.”
Explanation: “An officer shall include Judicial Officer, Officer from State or central
services and Presiding Officers or Members of the Tribunals or Authorities or such
officers as referred under section 30 (ii) of the Advocates Act, 1961.”1

“7A. Any person applying for enrolment as an Advocate shall not be enrolled, if he is
dismissed, retrenched, compulsorily retired, removed or otherwise relived from
Government service or from the service under the control of the Hon’ble High Courts or
the Hon’ble Supreme Court on the charges or corruption or dishonesty unbecoming of
an employee and a person having such disqualification is permanently debarred from
enrolling himself as an advocate”.2

8. No advocate shall be entitled to practice if in the opinion of the Council he is suffering
from such contagious disease as makes the practice of law a hazard to the health of
others. This disqualification shall last for such period as the Council directs from time to
time.


                              BAR COUNCIL EXAMINATION

[To be inserted as Rules 9 to 11 in Part VI, Chapter III of the Bar Council of India Rules –
Conditions for Right To Practice – under Section 49(1)(ah) of the Advocates Act, 1961]

RESOLVED that as the Bar Council of India is vested with the power of laying down
conditions subject to which an advocate shall have the right to practice, these Rules,
therefore, lay down such condition of an All India Bar Examination, the passing of which
would entitle the advocate to a Certificate of Practice which would permit him/her to
practice under Chapter IV of the Advocates Act, 1961.

9.       No advocate enrolled under section 24 of the Advocates Act, 1961 shall be
entitled to practice under Chapter IV of the Advocates Act, 1961, unless such advocate
successfully passes the All India Bar Examination conducted by the Bar Council of India.
It is clarified that the Bar Examination shall be mandatory for all law students graduating
from academic year 2009-2010 onwards and enrolled as advocates under Section 24 of
the Advocates Act, 1961.
The All India Bar Examination

10.      (1) The All India Bar Examination shall be conducted by the Bar Council of India.

(a) The Bar Examination shall be held at least twice each year in such month and such
places that the Bar Council of India may determine from time to time.

(b) The Bar Examination shall test advocates in such substantive and procedural law

1
    Rule 7A came into force Gazette 26-2-2000
2
 Held invalid by Andhra Pradesh High Court by its order dt. 21-9-2001. In writ petition
No. 3162/2001.
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areas as the Bar Council of India may determine from time to time.

(c) Such substantive/procedural law areas and syllabi shall be published by the Bar
Council of India at least three months prior to the scheduled date of examination.

(d) The percentage of marks required to pass the Bar Examination shall be determined
by the Bar Council of India.

(e) An unsuccessful advocate may appear again for the Bar Examination, without any
limit on the number of appearances.

(f) The Bar Council of India, through a committee of experts, shall determine the syllabi,
recommended readings, appointment of paper setters, moderators, evaluators, model
answers, examination hall rules and other related matters.

(g) The Bar Council of India shall determine the manner and format of application for the
examination.

(h) Upon successfully passing the Bar Examination, the advocate shall be entitled to a
Certificate of Practice.


Application for Certificate of Practice

11.        (1)        The Certificate of Practice shall be issued by the Bar Council of India to
                      the address of the successful advocate within 30 days of the date of
                      declaration of results.

           (2)    The Certificate of Practice shall be issued by the Bar Council of India
           under the signature of the Chairman, Bar Council of India.


                                                 CHAPTER-IIIA3
                                              To address the Court


Consistent with the obligation of the Bar to show a respectful attitude towards the Court
and bearing in mind the dignity of Judicial Office, the form of address to be adopted
whether in the Supreme Court, High Courts or Subordinate Courts should be as follows:
“Your Honour” or “Hon'ble Court” in Supreme Court & High Courts and in the
Subordinate Courts and Tribunals it is open to the Lawyers to address the Court as “Sir”
or the equivalent word in respective regional languages.


EXPLANATION: As the words “My Lord” and “Your Lordship” are relics of Colonial post,
it is proposed to incorporate the above rule showing respectful attitude to the Court.4

                                                    CHAPTER-IV4
3
    Added vide Res. No. 58/2006
4
    Gazetted on 6-5-2006 Pt. III Sec. IV of Gazette of India.
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                   FORM OF DRESSES OR ROBES TO BE WORN BY
                                    ADVOCATES*
                       (Rules under Section 49 (I) (gg) of the Act)
             Advocates appearing in the Supreme Court, High Courts,
         Subordinate Courts, Tribunals or Authorities shall wear the following
         as part of their dress, which shall be sober and dignified.*
         1. ADVOCATES
             (a) A black buttoned up coat, chapkan, achkan, black sherwani
                  and white bands with Advocates’ Gowns.
             (b) A black open breast coat. white shirt, white collar, stiff or
                  soft, and white bands with Advocates’ Gowns.
             In either case wear long trousers (white, black striped or grey)
         Dhoti excluding jeans.
             Provided further that in courts other than the Supreme Court,
             High Courts, District Courts, Sessions Courts or City Civil
             Courts, a black tie may be worn instead of bands.
         II. LADY ADVOCATES
              (a) Black full sleeve jacket or blouse, white collar stiff or soft,
                   with white bands and Advocates’ Gowns.
                   White blouse, with or without collar, with white bands and
                   with a black open breast coat.
                                                Or
              (b) Sarees or long skirts (white or black or any mellow or
                   subdued colour without any print or design) or flare (white,
                   black or black stripped or grey) or Punjabi dress Churidar
                   Kurta or Salwar-Kurta with or without dupatta (white or
                   black) or traditional dress with black coat and bands.
         III. Wearing of Advocates' gown shall be optional except when
               appearing in the Supreme Court or in High Courts.
         IV. Except in Supreme Court and High Courts during summer
               wearing of black coat is not mandatory.
         ————————————————————————————————————————————————

               * Amendment recommended by the Rules Committee at its meeting dt. 24.08.2001
         was approved by the Bar Council of India at its meeting held on 25th and 26th August,
         2001 (Resolution No. 121/2001). The Chief Justice of India approved the Rules vide letter
         dt. 12.11.2001 subject to modification of Rule IV. The amendment suggested by the
         Hon'ble Chief Justice of India was incorporated in Rule IV vide Resolution No. 155/2001
         dt. 22nd and 25th December, 2001.
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             In the change brought about in the Dress Rules, there appears to
         be some confusion in so far as the Sub Courts are concerned. For
         removal of any doubt it is clarified that so far as the courts other than
         Supreme Court and High Court are concerned during summer while
         wearing black coat is not mandatory, the advocates may appear in
         white shirt with black, white striped or gray pant with black tie or
         band and collar.*




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              * Meeting dt. 23/24-2-2002


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                                       PART VII
                        DISCIPLINARY PROCEEDINGS AND REVIEW
                                       CHAPTER-I
               Complaints against Advocates and Procedure to be followed
          by Disciplinary Committees of the State Bar Council and the Bar
                                    Council of India
                          (Rules under Section 49 (1) (f) of the Act)
             A. Complaint and Enquiry under Section 35, 36 and 36B of the
         Act
         1. (1) A complaint against an advocate shall be in the form of a
         petition duly signed and verified as required under the Code of Civil
         Procedure. The complaint could be filed in English or in Hindi or in
         regional language where the language has been declared to be a
         State language and in case the complaint is in Hindi or in any other
         regional language, the State Bar Council shall translate the complaint
         in English whenever a disciplinary matter is sent to the Bar Council
         of India under the Advocates Act.
             Every complaint shall be accompanied by the fees as prescribed
         in the rules framed under Section 49 (h) of the Act.
             (2) The Secretary of the Bar Council may require the
         complainant to pay the prescribed fees if not paid, to remove any
         defects and call for such particulars or copies of the complaint or
         other documents as may be considered necessary.
             (3) On a complaint being found to be in order, it shall be
         registered and placed before the Bar Council for such order as it may
         deem fit to pass.
             (4) No matter taken up by the State Bar Council suo motu or
         arising on a complaint made under Section 35 of the Act shall be
         dropped solely by reason of its having been withdrawn, settled or
         otherwise compromised, or that the complainant does not want to
         proceed with the enquiry.
         2. Before referring a complaint under Section 35 (1) of the Act to
         one of its Disciplinary Committees to be specified by it, the Bar
         Council may require a complainant to furnish within a time to be
         fixed by it, further and better particulars and may also call for the
         comments from the advocate complained against.

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         3. (1) After a complaint has been referred to a Disciplinary
         Committee by the Bar Council, the Registrar shall expeditiously send
         a notice to the advocate concerned requiring him to show cause
         within a specified date on the complaint made against him and to
         submit the statement of defence, documents and affidavits in support
         of such defence and further informing him that in case of his non-
         appearance on the date of hearing fixed, the matter shall be heard
         and determined in his absence.
              Explanation : Appearance includes, unless otherwise directed,
         appearance by an advocate or through duly authorised
         representative.
              (2) If the Disciplinary Committee requires or permits, a
         complainant may file a replication within such time as may be fixed
         by the Committee.
         4. The Chairman of the Disciplinary Committee shall fix the date,
         hour and place of the enquiry which shall not ordinarily be later than
         thirty days from the receipt of the reference. The Registrar shall give
         notice of such date, hour and place to the complaintant or other
         person aggrieved, the advocate concerned and the Attorney General
         or the Additional Solicitor General of India or the Advocate General
         as the case may be, and shall also serve on them copies of the
         complaint and such other documents mentioned in Rule 24 of this
         Chapter as the Chairman of the Committee may direct at least ten
         days before the date fixed for the enquiry.
         5. (1) The notices referred to in this Chapter shall subject to
         necessary modification, be in Form Nos. E-1 and E-2 be sent to the
         advocates appearing for the parties. Notice to a party not appearing
         by the advocate shall be sent to the address as furnished in the
         complaint or in the grounds of appeal. The cost of the notices shall
         be borne by the complainant unless the Disciplinary Committee
         otherwise directs.*
              (2) The notices may be sent ordinarily through messenger or by
         registered post acknowledgement due and served on the advocate or
         the party concerned or his agent or other person as provided for in
         Order V of the Civil Procedure Code.
              (3) Notice may also, if so directed by the Committee be sent for
         service through any Civil Court as provided for under Section 42 (3)
         of the Advocates Act.
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              * The last sentence added w.e.f. 7-4-79

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             (4) Where the notice sent to any party cannot be served as
         aforesaid it may be served by affixing a copy thereof in some
         conspicuous place in the office of the Bar Council, and also upon
         some conspicuous part of the house (if any) in which the party
         concerned is known to have last resided or had his office, or in such
         other manner as the Committee thinks fit. Such service shall be
         deemed to be sufficient service.
             (5) Payment of bills and/or charges for summons to witness etc.
         shall be in accordance with the rules under Section 49 (h) of the Act.
         6. (1) The parties can appear in person or by an advocate who
         should file a vakalatnama giving the name of the Bar Council in
         which he is enrolled, his residential address, telephone number if
         any, and his address for service of notices. A Senior Advocate is
         entitled to appear with another advocate who has filed a
         vakalatnama.
             (2) The Bar Council or its Disciplinary Committee may at any
         stage of a proceeding appoint an advocate to appear as Amicus
         Curiae. Such advocate may be paid such fee as the Council or the
         Committee may decide.
             (3) Excepting when the Committee has otherwise directed,
         service on the advocate shall be deemed to be sufficient service on
         the parties concerned, even if copies of the notices are in addition
         sent to the parties, whether the parties have or have not been served.
             (4) Unless otherwise indicated, where more than one Advocate
         appears for the same party, it is sufficient to serve the notice on any
         of them.
         7. (1) If in an enquiry on a complaint received, either the
         complainant or the respondent does not appear before the
         Disciplinary Committee in spite of service of notice, the Committee
         may proceed ex-parte or direct fresh notice to be served.
             (2) Any such order for proceeding ex-parte may be set aside on
         sufficient cause being shown, when an application is made supported
         by an affidavit, within 60 days of the passing of the ex-parte order.
             Explanation : The provisions of Section 5 of the Limitation Act,
         1963 shall apply to this sub-rule.
         8. (1) The Disciplinary Committee shall hear the Attorney General or
         the Additional Solicitor General of India or the Advocate General, as
         the case may be or their advocate and parties or their advocates, if
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         they desire to be heard and determine the matter on documents and
         affidavits unless it is of the opinion that it should be in the interest of
         justice to permit cross examination of the deponents or to take oral
         evidence, in which case the procedure for the trial of civil suits shall
         as far as possible be followed.
             (2) On every document admitted in evidence, the following
         endorsement shall be made which shall be signed by the Chairman
         or any member of the Committee :-
             The Disciplinary Committee of Bar Council of .....................
         Exhibit No .............................. Date of Document..............................
         Produced by ................................. Date .....................................
         Signature of .................
             (3) The exhibits shall be marked as follows :-
             (a) Those of the complainant as C1,C2, etc.
             (b) Those of Respondent as R1, R2,etc.
             (c) Those of Disciplinary Committee as D1, D2, etc.
             (4) The Disciplinary Committee may at any stage direct the
         parties or their advocates to furnish such further and better
         particulars as it considers necessary.
             9. (1) Evidence given before the Disciplinary Committee shall be
         recorded preferably in English by any member of the Committee or
         any other person authorised by the Committee. The evidence so
         recorded shall be signed by the Chairman or if the Chairman is not
         there when the evidence is recorded by any member of the
         Committee.
             (2) Whenever the record of a case decided by the State Bar
         Council or its Disciplinary Committee in which evidence has been
         recorded in a language other than English is required to be sent to
         the Bar Council of India or its Disciplinary Committee, a translation
         thereof in English made by a person nominated by Committee or
         Registrar certifying the same to be true copy shall also be sent.
         10. (1) Every Disciplinary Committee shall make a record of its day
         to day proceedings.
             (2) The Registrar of the Disciplinary Committee shall maintain a
         case diary setting out shortly in order of date, all relevant information
         concerning the date of filing, the date for hearing and despatch and
         service of the notices on the parties or the Advocates or the Attorney
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         General or the Additional Solicitor General or the Advocate General
         as the case may be, of statements or petitions filed and/or of the
         order thereon and of other proceedings in the matter before the
         Committee.
         11 (1) If in any enquiry pending before the Disciplinary Committee,
         the complainant dies and there is no representative who is willing to
         conduct the case on his behalf, the Disciplinary Committee may,
         having regard to the allegations made in the complaint and the
         evidence available, make a suitable order either to proceed with the
         enquiry or to drop it.
               (2) (a) In the case of an enquiry against only one advocate, on
                       his death the Disciplinary Committee shall record the
                       fact of such death and drop the proceedings.
                     (b) Where the enquiry is against more than one advocate, on
                         the death of one of them, the Disciplinary Committee
                         may continue the enquiry against the other advocate
                         unless it decides otherwise.
             (3) No Disciplinary enquiry shall be dropped solely by reason of
         its having been withdrawn, settled or otherwise compromised, or that
         the complainant does not want to proceed with the enquiry.
         12. Unless otherwise permitted, counsel appearing before any of the
         Disciplinary Committees of the State Bar Council or Bar Council of
         India shall appear in court dress.
         13. The Council may from time to time issue instructions on any of
         the matter provided for in these rules.
         14. (1) The finding of the majority of the members of the
         Disciplinary Committee shall be the finding of the Committee. The
         reason given in support of the finding may be given in the form of a
         judgement, and in the case a difference of opinion, any member
         dissenting shall be entitled to record his dissent giving his own
         reason. It shall be competent for the Disciplinary Committee to
         award such costs as it thinks fit.
             (2) The Registrar of the Disciplinary Committee shall send free of
         charge to each of the parties in the proceedings, a certified copy of
         the final order or judgement as set out in Rule 36 in this Chapter.


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             (3) The date of an Order made by the Disciplinary Committee
         shall be the date on which the said Order is first received in the office
         of the Bar Council after it has been signed by all the members
         thereof. For the purpose of limitation the date of the Order shall be
         the date on which the contents of the Order duly signed as aforesaid
         are communicated to the parties affected thereby.
         15. Save as otherwise directed by the Disciplinary Committee or the
         Chairman thereof, certified copies of the records of a case pending
         before the Disciplinary Committee may be granted to the parties or to
         their counsel on an application made in that behalf and on payment
         of the prescribed fee.
         16. (1) The Secretary of a State Bar Council shall send to the
         Secretary of the Bar Council of India quarterly statements of the
         complaints received and the stage of the proceedings before the State
         Bar Council and Disciplinary Committees in such manner as may be
         specified from time to time.
         (2) The Secretary of the Bar Council of India may however call for
         such further statements and particulars as he considers necessary.
         17. (1) The Secretary of every State Bar Council shall furnish such
         particulars and send such statements as may be considered necessary
         by the Secretary of the Bar Council of India for purposes of Section
         36B of the Act and send all the records of proceedings that stand
         transferred under the said Section.
              (2) The date of receipt of the complaint or the date of the
         initiation of the proceedings at the instance of the State Bar Council
         shall be the date on which the State Bar Council refers the case for
         disposal to its Disciplinary Committee under Section 35 (1)* .
              (3) Whenever the records of proceedings are transferred under
         Section 36B of the Act to the Council, the requirements in Rule 9 (2)
         of this Chapter shall be followed by the Disciplinary Committee of
         the State Bar Council.

         B. Withdrawal of Proceedings under Section 36 of the Act
         18. (1) Where a State Bar Council makes a report referred to in
         Section 36 (2) of the Act, the Secretary of the State Bar Council shall
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              * Amended with effect from 10-4-1976

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         send to the Secretary of the Bar Council of India all the records of
         the proceedings along with the report.
             (2) An application by a person interested in the withdrawal of a
         proceeding referred to in Section 36 (2) of the Act shall be signed by
         him and it shall set out the necessary facts supported by an affidavit
         and accompanied by the fee prescribed.
             (3) For making an order on an application of a party or otherwise
         under Section 36 (2) of the Act, the Disciplinary Committee of the
         Bar Council of India may :
             (a) call for a report of the Disciplinary Committee seized of the
                 proceedings;
             (b) issue notice to the respondent;
             (c) require the parties to file such statements as it considers
                 necessary;
             (d) call for the records of the proceedings; and
             (e) examine any witnesses.
         (4) In the proceedings before the Disciplinary Committee of Bar
         Council of the India under Section 36, unless otherwise directed, the
         parties may appear in person or by advocate who shall file a
         vakalatnama as provided for under Rule 6 (1) in this Chapter.
             (5) On a consideration of the report of a State Bar Council or
         otherwise the Disciplinary Committee of the Bar Council of India
         shall pass such orders as it considers proper.
         C. Appeal to the Bar Council of India under Section 37 of the Act
         19. (1) An appeal to the Council provided for under Section 37 of
         the Act, shall be in the form of a memorandum in writing as set out
         in Rule 21 in this Chapter. If the appeal is in a language other than
         English, it shall be accompanied by a translation thereof in English.
             (2) In every appeal filed under Section 37 (1) of the Act, all
         persons who were parties to the original proceedings shall alone be
         impleaded as parties.
             (3) Save as otherwise directed by the Disciplinary Committee of
         the Council, in an appeal by the advocate against an order under
         Section 35, in case of death of the complaintant the legal
         representatives of the complainant shall be made parties.

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         20. (1) An appeal may be presented by the appellant or his advocate
         or by his recognised agent in the office of the Bar Council of India or
         sent by registered post with acknowledgement due so as to reach the
         Secretary, Bar Council of India on or before the last day of
         limitation.
             (2) Any appeal may be admitted after the period of limitation if
         the appellant satisfies the Disciplinary Committee that he has
         sufficient cause for not preferring the appeal within such period. Any
         such application for condonation of delay shall be supported by an
         affidavit.
         21. (1) The memorandum of appeal referred to in Rule 19 (1) of this
         Chapter shall contain necessary particulars as in Form G. The
         memorandum of appeal shall state when the order was
         communicated to the appellant and how it is in time.
              (2) Along with the memorandum of appeal, the appellant shall
         file :
              (a) either the authenticated or the certified copy of the order
                  appealed against, signed by the Registrar of the Disciplinary
                  Committee, and
              (b) five additional copies of the memorandum of appeal and of
                  the order appealed against, if there is only one Respondent;
                  if there is more than one Respondent, such number of
                  additional copies as may be necessary. All copies shall be
                  certified as true copies by the appellant or by his counsel.
             (3) Every memorandum of appeal shall be accompanied by the
         prescribed fees in cash. In case the memo is sent by post, it shall be
         accompanied by the M.O. Receipt issued by the Post Office.
             (4) If the papers filed in an appeal are not in order, the Registrar
         shall require the appellant to remove such defects within a specified
         time.
         22. (1) Subject to the provisions contained in Rule 29 (2) in this
         chapter, the Chairman of the Executive Committee or in his absence
         the Vice-Chairman of the Executive Committee or such other
         member authorised in this behalf by the Council shall have the
         power to allocate matters relating to the Disciplinary Committee,


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         save when any such case has been allotted by the Council to any
         particular Disciplinary Committee.*
            (2) Any matter allotted to a particular Disciplinary Committee
         which has not been heard may be reallocated to a different
         Disciplinary Committee.
             (3) Notwithstanding the provisions of Rule 30 in this Part, the
         Chairman of any Disciplinary Committee shall have powers to issue
         interim orders on urgent matters which may be placed before him by
         the Registrar.
         23. Subject to any resolution of the Bar Council of India in this
         behalf relating to the places of hearing, the Chairman of the
         Disciplinary Committee concerned shall fix the date, hour and place
         for the hearing of the appeal.
         24. (1) The appellant shall be required to file six typed sets of the
         following papers properly paged and indexed if there is only one
         Respondent and as many more sets as there may be additional
         respondents for the use of the Disciplinary Committee and by the
         other parties and for the record :-
               (a) the complaint, statement in the defence of the advocate,
               (b) the evidence oral and documentary and such other papers on
                   which parties intend to rely.
               (c) any other part of the record as may be directed by the
                   Committee.
            Where any of the above papers is in a language other than
         English, English translations thereof shall be filed.
              (2) The Respondent shall, if he so desires, or if so called upon,
         file six sets of typed papers of any part of the record on which he
         intends to rely. He shall also file English translations of such papers
         as are not in English.
         25. The Registrar shall give notices to the parties or their advocates
         or their recognised agents informing them of the date, time and place
         of the hearing of the appeal.
             A copy of the memorandum of appeal shall be sent to the
         respondent along with the notice of the appeal.
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               * Amended with effect from 18-6-1977

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         26. (1) No appeal filed under Section 37 of the Act against an order
         of punishment of an advocate shall be permitted to be withdrawn on
         account of settlement or compromise or adjustment of the claim
         against the advocate.
         (2) Every appeal filed under Section 37 of the Act by or against an
         advocate shall abate on the death of the advocate so far as he is
         concerned.
         27. In regard to appearance of a party in the appeal, Rule 6 of this
         chapter will apply.
         28. (1) The Registrar shall issue notice to the State Council
         concerned for the complete records to be sent to the Council.
             (2) The Registrar of the State Council concerned shall send along
         with the records a list containing particulars under the following
         columns and comply with such other directions as may be issued.
             Serial No.       Date of            Description of      Page No.
             of Document      Document           Document
         D. Application for Stay, and other matters
         29. (1) An application for stay made under Section 40, sub-section
         (1) or (2) of the Act shall be accompanied by an affidavit and the
         fees, if any prescribed by the rules of the Council made under
         Section 49(1)(h) of the Act. Where the affidavit is not in English, a
         translation thereof in English shall be filed. The applicant shall file
         with his application at least five copies of the application, and the
         affidavit and as many additional copies thereof as there are
         respondents. Where the application is not in English five copies with
         translation thereof in English shall also be filed.
             In every application for stay made to the Council, the applicant
         shall state if any application has been made to the State Council and
         the orders thereon.
             (2) Before a matter is allotted to a Disciplinary Committee under
         Rule 22 above, the Registrar may obtain orders on applications for
         interim stay or other urgent applications from the Chairman of any of
         the Disciplinary Committees.
             The orders passed under this sub-rule shall be communicated to
         the parties and to the Secretary of the Bar Council concerned.

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         30. After allotment of a case under Rule 22 in this Chapter to a
         Disciplinary Committee, the Registrar may obtain its orders on any
         matter of an emergent nature arising therein, by circulation.
         30A. The Disciplinary Committee of the Bar Council of India shall
         exercise all the powers exercised by the Civil Court or Court of
         Appeal under C.P.C.*
         31. The order of the Disciplinary Committee disposing of an appeal
         shall be communicated to the parties. The date of an order made by
         the Disciplinary Committee shall be the date on which the said order
         is first received in the office of the Council after it has been signed
         by all the members thereof.
         E. Rules applicable to all proceedings before the Disciplinary
              Committee of the State Bar Councils and the Bar Council of
              India.
         32. The Rules in this Chapter so far as may be, shall apply to all
         proceedings of the Disciplinary Committee of State Bar Councils or
         of the Bar Council of India.
         Proceedings to be in camera
         33. All the proceedings before the Disciplinary Committee shall be
         held in camera.
         Inspection of records and copies
         34. (1) Save as otherwise directed by the Disciplinary Committee or
         the Chairman thereof, inspection of any of the records in any
         proceeding before the Disciplinary Committee may be permitted to
         the parties or their advocates on presentation of an application duly
         signed by the applicant or his advocate and on payment of the
         prescribed fee on any working day except during the summer or
         other vacations of the Supreme Court.
              (2) An application for inspection shall be made to the Registrar
         of the Disciplinary Committee. The Registrar of the Disciplinary
         Committee may permit the inspection in his presence or in the
         presence of any member of the staff authorised by him.
              The person inspecting shall not be entitled to make copies of the
         record of which inspection is granted. He shall, however, be
         permitted to make short notes in pencil.
         ————————————————————————————————————————————————

               * Rule added with effect from 31-12-1977.

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             (3) Save as otherwise directed by the Disciplinary Committee or
         the Chairman thereof, certifited copies of the records of a case
         pending before the Disciplinary Committee may be granted to the
         parties or to their counsel on an application made in that behalf and
         on payment of the prescribed fee.
             (4) A copy of a final judgement in a decided case may be given
         to any person applying for the same on payment of the prescribed
         fee therefor, provided however that the name of the advocate against
         whom the proceedings were taken shall be omitted.
         Order awarding Costs : Decretal Order
         35. (1) All orders where costs are awarded in disciplinary
         proceedings shall specify the amount of costs awarded and also state
         the party against whom the order is made and the time within the
         amount is payable.
             (2) As soon as possible after the order is made by the
         Disciplinary Committee, in respect of every order where costs are
         awarded to any of the parties, a decretal order shall be drawn up as
         in Form J- 1/J-2 at the end of this Chapter signed by the Secretary of
         the State Bar Council or the Council as the case may be, as Registrar
         of the Disciplinary Committee and bearing the seal of the State Bar
         Council or the Council as the case may be.
             (3) The Decretal Order aforesaid shall be furnished to any party
         to the proceeding on application made therefor, and on payment of
         the charges prescribed under the rules.
         Copies of Final Orders
         36. The Secretary of the State Bar Council or the Bar Council of
         India as the case may be, shall send to each of the parties in the
         proceedings, a certified copy of the final order made under Sections
         35, 36, 36B or 37, signed by him as Registrar of the Disciplinary
         Committee and bearing the seal of the State Bar Council/Bar Council
         of India as the case may be. No charges shall be payable on the
         copies so sent. Charges as prescribed under the rules shall however
         be payable for all additional copies of the said order applied for.




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                                                  FROM — E - 1
                                 (Under Rule 5 in Chapter I, Part VII)
            Notice of hearing of complaint under Section 35/36 of the
         Advocates Act, 1961 and Rule 5, Chapter I, Part VII of the Rules
                           of the Bar Council of India.


               BEFORE THE DISCIPLINARY COMMITTEE OF THE BAR
                                                       COUNCIL OF ≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡
                                                  D.C. ENQUIRY NO ≡≡≡≡≡≡≡≡....≡≡≡≡≡≡≡
              ≡≡≡≡≡≡≡≡≡≡                                                                      Complainant/s
              (With Address)
                                                            vs.
              ≡≡≡≡≡≡≡≡≡≡                                                                       Respondent/s
              (With Address)
             WHEREAS a complaint dated ≡≡≡≡≡against respondent/s, a
         copy of which is sent herewith has been referred for disposal to the
         above Committee of the Bar Council ≡≡≡≡≡≡≡under Section 35/36 of
         the Advocates Act, 1961 and the Disciplinary Committee has fixed
         ≡≡≡≡≡≡ (time) on ≡≡≡≡≡≡ (date) for the hearings of the case at
         ≡≡≡≡≡≡ (place) in accordance with the procedure prescribed under
         the relevant rules of the Council.
             The Respondent may submit his statement of defence together
         with any documents or affidavits in support of his defence within
         ≡≡≡≡ days from the date of this notice. The respondent shall send
         one copy of his statement of defence to the complainant and one
         copy to the Advocate-General direct under registered A.D.cover. The
         complainant may be entitled to file a reply to the statement of
         defence together with such documents on which he proposes to rely
         in support thereof within ≡≡≡≡ days.
             The parties above-named are required to appear in person or
         through advocate before the said Committee on the said date, time
         and place or any other date or dates and place to which the matter


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         may be adjourned. It shall be open to the parties to examine the
         witnesses that may be permitted before the Disciplinary Committee.
            If, on any date of hearing any party is absent, the hearing will
         proceed ex-parte against him.
             ≡≡≡≡≡≡ is required to file ≡≡≡≡≡≡≡≡≡≡≡≡≡≡ copies of ≡≡≡≡≡≡ to
         the Registrar, Disciplinary Committee, Bar Council of ≡≡≡≡≡≡ on or
         before ≡≡≡≡≡≡.
               Dated this the ≡≡≡≡≡≡ day of the month ≡≡≡≡≡≡.... ≡≡ By Order

                                                                                     Registrar
                                                                          Disciplinary Committee
                                                                           Bar Council of ≡≡≡≡≡

                                                     FORM — E - 2
                    The Disciplinary Committee of the Bar Council of India
                   (Notice of hearing under Rule 5 in Chapter I, Part VII of the
                               Rules of the Bar Council of India)
                                     (Subject to necessary modifications)
               DCL/D/                  /                                                          Date≡≡≡≡≡≡
              In                                           the                                             Matter
         of....................................................................................
               No. on the file of the Disciplinary Committee of the Bar Council
         of
                                                 (B.C.I. Tr. Case No.)
               ≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡Complainant (s)
                                                               Vs.
               ≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡Respondent (s)

             Notice under Section 36B read with Section 35 and 36 (2) of
         the Advocates Act and the Rules made thereunder
            WHEREAS the proceedings between the parties above referred
         to before the Disciplinary Committee of the Bar Council of
         ≡≡≡≡≡stand transferred to the Bar Council of India under Section
         2
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         36B of the Advocates Act, 1961 and the records in the same have
         been received by the Bar Council of India for disposal by the
         Disciplinary Committee of the Bar Council of India as provided for
         in the said Section 36B read with Section 36A and the other
         provisions of the Act and the Rules of the Bar Council of India in
         this behalf.
              The parties in the above proceedings will take notice that the
         hearing in the same has been fixed :-
              At (place)
              For (dates and time)
              The Disciplinary Committee will continue the proceedings from
         the stage at which it was so left by the Disciplinary Committee of the
         Bar Council of ≡≡≡≡≡≡ and will hear arguments on the evidence,
         oral and documentary already on record.
              The parties are required to be ready with all their evidence oral
         and documentary and for arguments.
              The parties above named are required to appear in person or
         through Advocate or through duly authorised agents before the said
         Committee on the said date, time and place or any other date or dates
         and place to which the matter may be adjourned.
              In view of the pendency of these proceedings for a long time and
         its automatic transfer to the Bar Council of India under Section 36B
         of the Advocates Act, the hearing will be peremptory and no
         adjournment may be granted.
              If the parties fail to appear in person or by advocate or to comply
         with the other requirements of this notice, the Committee will
         proceed ex-parte or make such other orders as it may deem fit.
              The parties engaging any counsel may send their Vakalatnama
         duly signed by the counsel giving the address of the Advocate for
         the purpose of future communication.
              Please note that notice of the hearing sent to the Advocate will be
         sufficient notice to the party even if a copy of the notice is sent to
         any of the parties.
                                                              Registrar,
                                                     Disciplinary Committee of
                                                       the Bar Council of India
         Copy to :
         The Attorney General of India,
         New Delhi.
                                                                                                                   3
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                                                      FORM - F
                                 (Under Rule 4 in Chapter I, Part VII)
                                  (Subject to necessary modifications)
         From :
                       The Secretary
                       Bar Council of ≡≡≡≡≡≡
         To
                       The Attorney General/
                       Additional Solicitor General of India/Advocate General
                       ≡≡≡≡≡≡≡≡≡≡≡≡
                       ≡≡≡≡≡≡≡≡≡≡≡≡
         Notice under Section 35 (2)/ 36(3) of the Advocates Act, 1961
         Sir,
              Please find enclosed copy of a notice dated ≡≡≡≡issued under
         Section 35 (2)/36 (3) of the Advocates Act, 1961 for the hearing of a
         case before the Disciplinary Committee of the Bar Council of
         ≡≡≡≡≡≡
                                                                                 Registrar,
                                                                          Disciplinary Committee
                                                                           Bar Council of ≡≡≡≡≡
         Date :
         Place :

                                                      FORM - G
                                           Memorandum of Appeal
         (Under Rule 21 in Chapter I, Part VII of the Rules of the Bar Council
                                      of India)
                                  (Subject to necessary modifications)
                BEFORE THE DISCIPLINARY COMMITTEE OF THE BAR
                              COUNCIL OF INDIA
                           Under Section 37 of the Advocates Act, 1961

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                                           D.C. APPEAL No. /≡≡≡≡
         ≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡Appellant
                                                         Versus
         ≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡Respondent
         1. (a) Appellant ≡≡≡≡≡≡≡ son of ≡≡≡≡≡≡≡≡≡≡≡≡
                                                     (residing at)
         Age ≡≡≡≡≡≡≡≡≡≡ (to be filled in) ≡≡≡≡≡≡≡≡≡≡≡
                (To be filled up if the vakalatnama is filed by the advocate)
             The appellant appears by Advocate Shri≡≡≡≡≡≡ ≡≡≡Roll No
         ≡≡≡≡≡≡ enrolled in the Bar Council of ≡≡≡≡≡≡≡The Address for the
         service of Appellant is ≡≡≡≡≡≡ ≡≡≡ that of his advocate ≡≡≡≡≡≡≡≡
         ≡≡≡≡≡≡≡≡≡≡≡ ≡≡≡
               (b) Respondent (s) (I)≡≡≡≡≡≡ ≡≡≡≡≡≡≡≡≡≡≡ ≡
                                                                 S/o ≡≡≡≡≡≡≡≡ ≡≡≡≡≡≡≡≡≡≡≡ ≡≡≡
                                                             residing at ≡≡≡≡≡≡≡≡ ≡≡≡≡≡≡≡≡≡≡≡
             2. The appellant files this appeal against the Order dated
         ≡≡≡≡≡≡≡≡≡ in case No. ≡≡≡≡≡≡≡≡≡≡ of the Disciplinary Committee
         of the Bar Council of ≡≡≡≡≡≡≡ ≡≡≡.
            3. The complaint against the advocate, who is the
         Appellant/Respondent in this appeal was filed on ≡≡≡≡≡≡≡ in the Bar
         Council of ≡≡≡≡≡≡≡≡
            The Bar Council referred the complaint for enquiry to its
         Disciplinary Committee on ≡≡≡≡≡≡≡≡ ≡≡≡. The Disciplinary
         Committee of the Bar Council to which the matter was referred has
         dismissed the complaint/made an Order for punishment against the
         advocate, reprimanding him/suspending him/removing his name.
            4. The Committee has passed no order for costs/also passed an
         order for costs of Rs. ≡≡≡≡≡≡≡≡ ≡≡ payable by ≡≡≡≡≡≡≡≡≡ to
         ≡≡≡≡≡≡≡≡≡≡
            5. The order of the Disciplinary Committee will come into
         operation w.e.f. ≡≡≡≡≡≡≡≡≡≡


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             6. The appellant has made no application to the Disciplinary
         Committee of the State Bar Council of ≡≡≡≡≡ The appellant has
         made an application before the Disciplinary Committee of the State
         Bar Council of ≡≡≡≡≡ on ≡≡≡≡≡≡≡≡≡≡ which has made an order for
         stay upto ≡≡≡≡≡≡≡≡≡≡/ which has dismissed the application for stay.
             7. Six copies of the order of the Disciplinary Committee of the
         State Bar Council and the Stay Application are filed with this appeal.
            The order of the Disciplinary Committee of the Bar Council of
         ≡≡≡≡≡≡≡≡≡≡ was received/communicated to the applicant on
         ≡≡≡≡≡≡≡≡≡≡
              The appeal is in time/not in time.
             The appeal is filed after the period of limitation and application
         for condonation of delay supported by an affidavit is filed herewith.
             The appellant has paid Rs. ............. fee for the appeal on ≡≡≡≡≡
         in cash/is paying Rs. ≡≡≡≡≡≡≡≡
            The appellant files this appeal for the following amongst other
         grounds : -
              1 ≡≡≡≡≡                       2 ≡≡≡≡≡                       3≡≡≡≡≡                   etc.


                                                                          Appellant/Advocate for
                                                                                    Appellant.


         Place :
         Date :
         Enclosures : 1. Certified copy of the order complained against with
                         5 extra copies.
                             2. Memo of grounds of appeal with 5 extra copies.
                             3. Application, if any, for stay with 5 extra copies.
                             4. Affidavit in support of application for stay with 5
                                extra copies.
                                                      FORM - H

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                         (Under Rule 25 in Chapter I, Part VII)
                          (Subject to necessary modifications)
           BEFORE THE DISCIPLINARY COMMITTEE (≡≡) OF THE BAR
                                 COUNCIL OF INDIA
         D.C. Appeal ≡≡≡≡≡≡ Νο.                  /
                                            against
             Order of the Disciplinary Committee of Bar Council of ≡≡≡≡≡≡≡
         Dated ≡≡≡≡≡≡≡≡≡in Case/Complaint No. ≡≡≡≡≡≡≡≡. In the matter of
         Shri ≡≡≡≡≡≡≡≡ Advocate ≡≡≡.≡≡≡≡≡≡≡                          Appellant(s)
                                          Versus
         ≡≡≡≡≡≡≡≡≡≡                                               Respondent(s)
         Notice of Appeal under Section 37 of the Advocates Act, 1961 and
         intimation of the date of hearing
             WHEREAS an appeal has been filed by the appellant above
         named against the order of the Disciplinary Committee of the State
         Bar Council of ≡≡≡≡≡≡ in Case/Complaint No. ≡≡≡≡≡ dated ≡≡≡≡≡
             The parties to the appeal will please take notice that the hearing
         of the above appeal before the said Committee has been fixed for
         ≡≡≡≡≡ the ≡≡≡≡≡≡ at ≡≡≡≡≡≡ (Place) ≡≡≡≡≡≡≡ at ≡≡≡≡≡≡≡
             If any of the parties to the appeal fail to appear in person or
         through advocate on the date of the hearing or any date on which it
         may be adjourned, the matter will be proceeded with ex-parte.
             Please also take notice that stay of the operation of the order filed
         against has been granted by order of the Disciplinary Committee
         dated ≡≡≡≡≡≡≡≡.
         New Delhi
         ≡≡≡≡≡
         Dated :                                            Registrar,
                                                     Disciplinary Committee,
                                                       Bar Council of India.
         Note:- One copy of the grounds of appeal is sent to each of the
                respondents.
                                                       FORM - I
                                  (Under Rule 29, Chapter I, Part VII)

                                                                                                                   7
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                                  (Subject to necessary modifications)
              DISCIPLINARY COMMITTEE (≡≡≡≡) OF THE COUNCIL OF
                                  INDIA
         ≡≡≡≡≡≡ (Chairman)
         ≡≡≡≡≡≡≡≡≡≡
         ≡≡≡≡≡≡≡≡≡≡
               Miscellaneous Petition No. ≡≡≡≡≡≡≡ (Stay)
                                                            IN
                                      D.C. Appeal No. ≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡Appellant(s)
                                                            Vs.
                                                       ≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡ Respondent(s)
                                       Dated the ≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡ .........................
             Petition for stay and suspension of the operation of order of the
         Disciplinary Committee of the Bar Council of ≡≡≡≡≡≡ in
         Case/Complaint No ≡≡≡≡≡≡≡≡ dated ≡≡≡≡≡≡ suspending the
         petitioner from practice under Section 35 (3) of the Advocates Act,
         1961 for a period of ≡≡≡≡≡≡≡≡≡≡ pending the disposal of the appeal
         filed against the said Order.

                                                        ORDER
            The operation of the order of the Disciplinary Committee of the
         Bar Council of ≡≡≡≡≡≡≡ dated ≡≡≡≡≡≡≡ in Case/Complaint No.
         ≡≡≡≡≡≡ is stayed.
         By Order


                                                                                     Registrar,
                                                                        Disciplinary Committee of
                                                                         the Bar Council of India.




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                                                    FORM - J - I
                                (Under Rule 35 (2) Chapter I, Part VII)
            BEFORE THE DISCIPLINARY COMMITTEE OF THE BAR
         COUNCIL OF ≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡≡ORIGINAL JURISDICTION
         (To be added in matter before the Bar Council of India)
         Complaint/Case No ≡≡≡≡≡≡≡≡≡..... ≡≡≡≡≡≡≡≡≡≡
            (On a complaint made by Shri ≡≡≡≡≡≡≡ (address) ≡≡≡≡≡≡≡≡≡≡
         Complainant(s)
               (Name & address)
                                                            Vs.
         ≡≡≡≡≡≡≡≡≡≡                                                                          Respondent(s)
               (Name & Address)


                                                                                                           (Date)
         Present :—
               Shri. ≡≡≡≡≡≡≡≡≡≡ (Chairman)
               Shri. ≡≡≡≡≡≡≡≡≡≡ (Member)
               Shri. ≡≡≡≡≡≡≡≡≡≡ (Member)
         For the Complainant : Shri ≡≡≡≡≡≡≡ , Advocate in/person
         For the Respondent : Shri ≡≡≡≡≡≡≡, Advocate in/person
             The Case above mentioned being called on for hearing before
         the Disciplinary Committee of the Bar Council of ≡≡≡≡≡≡≡≡ on the
         ≡≡≡≡≡≡≡≡ day of ≡≡≡≡≡≡≡≡ ≡≡≡, UPON hearing Advocate for the
         Complainant/the Complaintant in person AND Advocate for the
         Respondent (Respondent in person)/Respondent not appearing either
         in person or through Counsel though served; the Disciplinary
         Committee of the Bar Council of ≡≡≡≡≡determining (state the gist of
         the punishment) DOTH ORDER :
            That the Complaint/Case                            be     and      the      same        is    hereby
         dismissed/allowed.
               That there shall be no order as to costs;


                                                                                                                   9
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             That the Complainant/Respondent do pay to the Respondent/
         Complainant herein the sum of Rs≡≡≡./- (Rupees ≡≡≡≡(in words)
         being the costs incurred in the Bar Council of ≡≡≡≡≡≡≡≡ within
         ≡≡≡≡≡≡≡≡ month from the date of this order;
            That this Order be punctually observed and carried into
         execution by all concerned;
            WITNESS Shri ≡≡≡≡≡≡≡≡ Chairman of the Disciplinary
         Committee of the Bar Council of ≡≡≡≡≡≡ at ≡≡≡≡≡≡≡≡ this the
         ≡≡≡≡≡≡≡ day of ≡≡≡≡≡≡.... ≡≡≡≡≡≡≡≡ .
                                                                                     Registrar,
                                                                        Disciplinary Committee of
                                                                          the Bar Council of ≡≡≡≡


                                                   FORM — J.2
                             (Under Rule 35 (2) in Chapter I, Part VII)
           THE DISCIPLINARY COMMITTEE OF THE BAR COUNCIL OF
                                     INDIA
                                       D.C. Appeal No. ≡≡≡≡≡≡≡≡ of ≡≡≡
                     (On appeal from the Order dated the ≡≡≡≡≡≡≡≡ day of
                              ≡≡≡≡≡ of the Bar Council of ≡≡≡≡≡≡ in Case
                                                   No ≡≡≡≡≡≡≡ of ≡≡≡≡)
          ≡≡≡≡≡≡≡≡≡≡≡≡                                                                           Appellant(s)
         (Name & address)
                                                            Vs.
          ≡≡≡≡≡≡≡≡≡≡≡≡                                                                        Respondent(s)
         (Name & address)                                                                                  ≡≡≡≡
                                                                                                           (date)
         Present : —
            Shri. ≡≡≡≡≡≡≡ (Chairman)
            Shri. ≡≡≡≡≡≡≡ (Member)
            Shri. ≡≡≡≡≡≡≡ (Member)

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         For the Appellant : Shri ≡≡≡≡≡≡≡, advocate/in person
         For the Respondent : Shri ≡≡≡≡≡≡≡, advocate/in person
             The appeal above mentioned being called on for hearing before
         the Disciplinary Committee of the Bar Council of India on
         ≡≡≡≡≡≡≡ day of ≡≡≡≡≡≡≡ ≡≡≡, UPON hearing Advocate for the
         appellant (the appellant in person) AND Counsel for the Respondent
         (the Respondent in person)/respondent not appearing either in person
         or through Advocate though served. The Disciplinary Committee of
         the Bar Council of India DOTH ORDER.
             That the original order dated ≡≡≡≡≡≡≡ is hereby confirmed/set
         aside/set modified as under : —
                   That the Appeal be and the same is hereby dismissed/allowed;
                   That there shall be no order as to costs;
              That         the        Appellant/Respondent        DO      pay     to   the
         Respondent/Appellant herein the sum of Rs ≡≡≡≡≡≡/- [Rupees
         ≡≡≡≡≡≡ (in words)] being the costs incurred in the Bar Council of
         India as well as the sum of Rs. ≡≡≡≡≡≡≡≡/- ≡≡≡≡≡≡≡ (in words)
         being          the         cost       incurred     in    the     Bar      Council
         of...................................within months from the date of this Order.
            That this Order be punctually observed and carried into
         execution by all concerned.
            WITNESS Shri. ≡≡≡≡≡≡≡≡ Chairman of the Disciplinary
         Committee of the Bar Council of India at (Place) this the ≡≡≡≡≡≡≡≡
         day of ≡≡≡≡≡≡≡≡≡≡≡≡≡.


                                                                                Registrar,
                                                                        Disciplinary Committee of
                                                                          Bar Council of India

                                                  CHAPTER - II
                                  Review under Section 44 of the Act
         1. An application for Review under Section 44 of the Act shall be in
         the form of a petition duly signed and supported by an affidavit

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         accompanied by the prescribed fee and filed within 60 days from the
         date of the Order sought to be reviewed.
         2. Every such application shall be accompanied by :
             (a) a certified copy of the Order complained of,
             (b) five additional copies of the application, affidavit and the
                 order, and
             (c) if there are more respondents than one, as many additional
                 true copies as may be necessary.
         3. Every such application shall set out the grounds on which the
         Review is sought and shall further state whether any proceeding in
         respect thereof was filed and is still pending or the result thereof as
         the case may be.
         4. If a Disciplinary Committee of a Bar Council does not summarily
         reject the application under Section 44 of the Act, or wishes to
         exercise its powers under Section 44 suo motu, the Secretary of a Bar
         Council shall issue as nearly as may be in the Form K at the end of
         this Chapter, notice to the parties and to the Advocate-General
         concerned or the Additional Solicitor-General of India in the case of
         the Bar Council of Delhi.
         5. (1) If after the hearing referred to in Rule 4, the Disciplinary
         Committee of a State Bar Council does not dismiss the application,
         and decides that the application for review should be allowed, the
         copy of the order along with the relevant record shall be sent to the
         Bar Council of India for approval.
             (2) If the Bar Council of India approves the order of the State Bar
         Council, the Disciplinary Committee of the State Bar Council shall
         communicate the order to the parties, if the Bar Council of India does
         not approve it, the Disciplinary Committee of the State Bar Council
         shall make its order dismissing the application and inform the parties.
         6. The decision of the Disciplinary Committee of the Bar Council of
         India on an application for Review of its order shall be
         communicated to the parties.
         7. In the proceedings under this Chapter, unless the Disciplinary
         Committee of the State Bar Council or the Bar Council of India, as
         the case may be, otherwise decides, the parties may appear by the
         advocate who shall file a vakalatnama signed by the party.

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                                                      FORM - K
           Notice Under Section 44 of the Advocates Act, read with Rule 4 in
             Chapter II, Part VII of the Rules of the Bar Council of India
                                  (Subject to necessary modifications)
         BAR COUNCIL OF ≡≡≡≡≡≡≡≡≡≡
         REVIEW APPLICATION ≡≡≡≡≡≡≡≡≡≡ ≡≡≡
         ≡≡≡≡≡≡≡≡≡≡                                                                                Petitioner/s
                                                            vs.
         ≡≡≡≡≡≡≡≡≡≡                                                                            Respondent/s
            WHEREAS on the application of ≡≡≡≡≡≡≡≡≡≡ /suo motu the
         Disciplinary Committee of the Bar Council of ≡≡≡≡ having
         considered that there are prima facie grounds for Review of the
         Order made in Case No. ≡≡≡≡≡≡ ≡≡≡≡≡≡ on ≡≡≡≡≡≡.
             The Respondent is informed that the said application will be
         heard by the Disciplinary Committee of the Council of ≡≡≡≡≡≡≡≡ on
         ≡≡≡≡≡≡≡≡≡≡≡≡ at (time) ≡≡≡≡ at place ≡≡≡≡≡ and that if the
         Respondent does not appear in person or through his advocate on
         the said date or on such other date to which the hearing may be
         adjourned, the matter will be heard and disposed of in his absence.
               Date this ≡≡≡≡≡≡ day of ≡≡≡≡ ≡≡≡
               Office of the Bar Council of ≡≡≡≡≡≡


                                                                                     Registrar,
                                                                     Disciplinary Committee of the
                                                                           Bar Council of ………




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                                          PART VIII
                                  Fee leviable under the Act
                             (Rules under Sec. 49(1)(h) of the Act)
               1.   A State Council may levy fees, not
                    exceeding the limits prescribed hereunder in
                    any of the following matters.
              (a)   Petition challenging the election of one or
                    all members of the State Council               ≡ Rs. 10,000.00*
              (b)   Complaint of professional misconduct under
                    Section 35 of the Act.                         ≡   Rs. 250.00
                    Provided that no fee shall be payable on a
                    complaint made by any court or tribunal or
                    other statutory body or wherein a proper
                    case the Bar Council grants exemption
                    therefor.
          (b-1)     The complainant shall be liable to pay in
                    addition to the fee in sub clause (b) the cost ≡   Rs. 200.00
                    of service of process unless the Disciplinary
                    Committee grants exemption therefor.
              (c)   Certificate as to the date of enrolment and
                    the continuance of the name of the advocate
                    on the roll.                                   ≡     Rs. 50.00
              (d)   Certificate required to be produced with the
                    transfer application under Section 18 of the ≡     Rs. 100.00
                    Act
              (e)   Inspection by complainant or the concerned
                    advocates, of documents relating to the
                    disciplinary matters.                          ≡     Rs. 50.00
              (f)   Inspection of the roll of the advocates or the
                    voters list.                                   ≡           Rs.
                                                                             50.00
              (g)   Any application made in any proceedings
                    before a State Council or its Committee
                    other than the Disciplinary Committee.         ≡     Rs. 50.00

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               * w.e.f. 2-3-2008


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              2. A fee as specified hereunder shall be paid in
                 the following matters.
             (a) Complaint of professional misconduct
                 referred under section 36 of the Act.                                              Rs. 250.00
                                                                                            ...
                    Provided that no fee shall be payable on a
                    complaint or appeal made by any court or
                    tribunal or other statutory body or where in
                    a proper case the Council grants exemption
                    therefor.
          (a-1) The complainant shall be liable to pay in
                addition to the fee in sub-clause(a) the cost                                       Rs. 200.00
                of service of process unless the Disciplinary ≡
                Committee grants exemption thereof.
             (b) An appeal filed under Section 37 of the Act ≡                                      Rs. 500.00
             (c) An application for stay made to the Council
                 under the Act.                              ≡                                      Rs. 100.00
             (d) (i) An application for inspection                                          ≡                 Rs.
                                                                                                            50.00
                    (ii) Inspection in cases finally decided when
                    permitted.                                    ≡                                 Rs. 100.00
             (e) An application for withdrawal under Section ≡                                      Rs. 500.00
                 36 of the Act.
              (f) An application for Review under the Act.                                  ≡       Rs. 500.00
             (g) An application for the exercise of its power
                 under Section 48A of the Act (Revision).     ≡                                     Rs. 250.00
             (h) Any application made in any proceedings
                 before the Council or a Committee other
                 than the Disciplinary Committee.             ≡                                               Rs.
                                                                                                            50.00




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         3. (a) Every application for an authenticated copy
                of any certificate, order of other
                proceedings, entry on any roll, or any
                document or deposition in any proceeding,
                before a State Council or the Council or a
                Committee thereof shall be accompanied by
                a fee of Rs. 50/- and the copying charges as
                follows :
                Every exemplification of the order or other
                documents in addition to the folio and other
                charges.                                     ≡                                          Rs. 50/-
                    Copying charges for folio                                               ≡                 10/-
         A folio shall be deemed to consist of two hundred words, seven
         figures shall be counted as one word and more than half a folio
         shall be reckoned as a folio.
              (b) In any proceedings, summons to witness shall only be
                  issued on payment of the requisite batta and/or charges
                  according to the rates prescribed by the High Court, in the
                  case of a State Council, and the Supreme Court in the case
                  of the Council or a Committee thereof as the case may be.
              (c) Every interlocutory application, including a petition for
                  excusing delay or for obtaining stay for proceedings of a
                  Disciplinary Committee shall be accompanied by a fee of
                  Rs. 100/- in the case of the Disciplinary Committee of a
                  State Council and a fee of Rs. 100/- in the case of the
                  Disciplinary Committee of the Council.
              (d) An application by a party to the proceedings for unattested
                  copies of depositions of witnesses may be supplied at the
                  rate of Rs. 5/- for each page of the deposition.




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              4. (a) Application for transfer from one State Bar Council to
                 another State Bar Council                   … Rs. 750.00
                    (b) Preparation charges of File and other papers
                        reg: transfer of name by transferror and
                        transferee Bar Councils                   … Rs. 750.00
              5. For resumption of practice as an Advocate, an applicant
                 shall have to pay a sum of Rs. 1,000/- in favour of the State
                 Bar Council and Rs. 200/- in favour of the Bar Council of
                 India by way of separate Bank Drafts drawn in favour of the
                 respective Bar Councils.*




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              * Fee Revised w.e.f. 16-9-2006

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                                                       PART-IX
          General Principles to be followed by State Bar Councils and Bar
           Council of India, rules for Supervision and Control by the Bar
                                   Council of India
                      (Rules under Section 49(1) (a), (i) and (j) of the Act)
                                                    ELECTION
         1. The election of members to State Councils shall only be by secret
         ballot. There shall be no voting by post except that a State Council
         may permit voting by post to advocates eligible to vote and who do
         not ordinarily practise at the seat of the High Court or the seat of any
         of the District Courts in the State.
              Explanation :- An advocate shall be deemed ordinarily to
         practise at the place which is given in his address in the Electoral
         Roll.
         2. Any candidate who by himself or through his agent seems or
         attempts to secure from any voter his ballot paper with intent to
         prevent him from transmitting it directly or with intent to ensure that
         the vote has been cast for a particular candidate shall be guilty of an
         election malpractice which shall invalidate his election whether or
         not the result of the election has been materially affected thereby.
         3. The notice of election of members of the State Councils and the
         results of the elections shall be published in the State Government
         Gazette or Gazettes as the case may be.
         4. A State Council may require a deposit from every candidate
         standing at an election, which may be forfeited in case the candidate
         is unable to secure at least 1/8 of the quota fixed for the election.
         5. All election disputes shall be decided by tribunals constituted by
         the State Councils.
                              FUNDS OF STATE COUNCILS
         6. The funds of State Councils must first be deposited in the State
         Bank of India or any Nationalised Bank before any money could be
         expended, and disbursement shall ordinarily be made by cheques,
         unless the amount involved is small.
         7. The State Bar Council may decide from time to time investment
         of its funds in the following securities.


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              1. Fixed Deposits or Cumulative Deposits in the State Bank of
                  India or in such other Nationalised Banks;
              2. in any other securities specified in Section 20 of the Indian
                  Trust Act, 1882;
              3. in the Fixed Deposits or Cumulative Deposits with
                  Government Companies as defined in the Companies Act,
                  1956 * .
         8. Every State Council shall maintain a provident fund for its
         employees and also pay gratuity in accordance with rules which each
         Council may frame.
         9. The State Councils may accept donations in cash or kind for any
         of the purposes of the Act.
         10. The accounts of every Council shall be audited by a Chartered
         Accountant once a year.
                                BOOKS AND REGISTERS
         11. The State Bar Councils and the Bar Council of India shall
         maintain the following books:-
             (a) Minutes books;
             (b) Attendance Register for the staff;
             (c) Leave Register for the staff;
             (d) Acquittance Register;
             (e) Day Book and Ledger;
              (f) Receipt Book;
             (g) Financial Assistance Register;
             (h) Provident Fund Account; and
              (i) Property Register.
             THE BAR COUNCIL OF ≡≡≡≡≡≡≡≡
                            COPY APPLICATION REGISTER
         12. Every State Bar Council shall maintain:-
             (a) A Copy Application Register containing as far as possible the
                  following entries :-
               1. Serial No.
               2. D.C. Enquiry No. /D.C. Appeal No.
               3. Name of advocate/party (Making the Application).
         —————————————————————————————————————————————————

              * Sub Rule 7(3) came into force from 27-11-1988.


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               4. No. of Folio.
               5. Charges payable.
               6. Date of receipt of copy application.
               7. Date of notifying charges payable.
               8. Date of payment.
               9. Date when copy ready.
              10. Date of delivery.
              11. Signature for receipt
              12. Remarks.
             To every certified copy applied for and furnished shall ordinarily
         affixed a rubber stamp containing inter alia the following columns :-
                                    THE BAR COUNCIL OF ≡≡≡≡≡≡
         C.A. No.≡
                1. No. of D.C. Proceeding.
                2. Date of communication of order.
                3. Date of receipt of copy application.
                4. Date when charges are called for.
                5. Date when charges are paid.
                6. Date when copy despatched or delivered.
                7. Charges paid for the copy.

         Date≡≡≡≡≡≡                                                            Signature of Secretary
                                                                           or other person authorised
             (b) “Bar Council Complaint Register”, containing the following
         columns.
          1              2                     3                           4            5
          Sl.        Date of            Name of com-              Name of advocate Date on
          No.        receipt            plainant     or           against whom the which Bar
                     of                 other person              complaint is made, Council
                     complain           and address.              his Roll No.       considere
                     t                                                               d

                     6                               7                          8                      9




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          If rejected prima Reference to page If          suo Any other
          facie, or referred of     Disciplinary motu,        particulars/
          to its             Committee            necessary   Remarks
          Disciplinary       register,    further particulars
          Committee and      particulars.
          date of
          resolution.
              (c) Disciplinary Committee register containing the following
         columns:-

          1                                2                     3                              4

          Sl.                        Number              Complainant’ Name      of     the
                                     of Case              s Address.  Advocate       about
                                                                      whom complaint is
                                                                      made and his address
                                                                      and Roll No.


                5              6                     7                         8                       9

         Date of Name of        If summarily If not summarily                                    Gist of Final
         reference Member of rejected        rejected, dates                                     order under
         by Bar    Disciplinary date.        of enquiry                                          Section 35
         Council Committee                                                                       (1) and date



                    10                         11                         12                         13

          Date on which Date of receipt                          If appeal filed           Date of receipt
          Order was sent of order com-                           number of the             of notice for
          to the parties. municated to                             appeal and              despatch     of
                          parties                                  particulars             records.




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         Date of des-           Result of             Date of receipt             Date of     Remarks
         patch of re-           appeal etc.           of records                  return of and other
         cords to Bar                                 received back               documents particulars
         Council of                                   from the Bar                to parties.
         India                                        Council of India




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         13. The Bar Council of India shall maintain the following registers : -
                 1. Copy Application Register, containing entries as nearly as
                    possible as in the case of the copy application register of
                    Stare Bar Councils with necessary modifications.
                 2. The Bar Council of India Complaint Register, containing
                    entries on matters required with reference to register of the
                    State Bar Councils.
                 3. The Disciplinary Committee Register containing similar
                    entries with necessary modifications as is necessary for State
                    Bar Councils.
                 4. The Disciplinary Committee appeal registers containing the
                    following columns.
         1            2              3               4                         5                          6

         S. Date of Name of Name of                                      Name of Advocate Appeal
         No. Receipt appellant Respondent                                against whom the from Bar
             of papers                                                   enquiry is made    Council
                                                                         and Roll Number of≡≡

             7                  8                      9                     10                            11

         Date on          Names of        Dates of                   Date of receipt of Date
         which            Members         hearing                    records of the     of final
         papers           of Disciplinary                            Disciplinary Comm- Order
         were             Committee                                  ittee appealed
         found in                                                    against
         order

                 12                         13                          14                            15

         Date of Des- Date of receipt                             Particulars as to Results of
         patch of Order of Order Com-                             Appeal to Supreme Appeal to
         to parties     municated                                 Court, if any     Supreme
                                                                                    Court
         Contd≡

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         Review application, if Date of despatch of records Other
         particulars
         any, with particulars received from the Bar Council and remarks


                      SCRUTINY OF RECORDS OF STATE COUNCILS
         14. (i) The Chairman (ii) the Vice-Chairman, (iii) any member of the
         Council or the Secretary of the Council duly authorised by a
         resolution, shall be entitled at any time to look into any of the
         records or other papers of any State Council.
                                                   ENROLMENT
         15. (1) In addition to the enrolment fee laid down in Section 24 of
         the Advocates Act, person desirous of being enrolled as advocates
         shall also be liable to pay to the State Councils, Stamp Duty payable
         by them under the Indian Stamp Act and such Bar Councils shall be
         entitled to recover the same before making the entry of their names
         in the rolls.
             (2) Every candidate seeking enrolment as an Advocate shall be
         required to affirm and subscribe to the following declarations:
              (a) ‘I shall uphold the Constitution and the Laws’;
             (b) ‘I shall faithfully discharge every obligation cast on me by
         the Act and the Rules framed thereunder’.
                                ELECTORAL ROLL AND ELECTION
         16. (1) Every State Council shall hold its elections well in time before
         the expiry of the terms of its members and take all steps necessary in
         respect thereof.
             (2) The Secretary of every State Council shall take steps in time
         or prepare and publish the electoral rolls for the purpose of the
         elections.
                                   SUPERVISIONS AND CONTROL
         17. The State Councils shall, when so required, make such periodical
         returns or statements or furnish such information as may be
         prescribed or called for by the Council :
         18. The Secretary of every State Council shall inter alia send to the
         Secretary of the Council :
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              (a) a copy of the notice of every election of members to the State
                  Council, a copy of the list of members elected, intimation of
                  the election disputes, if any referred to any tribunal or
                  Committee and the result thereof;
              (b) the names of the ex-officio member of the State Council;
              (c) the name of members of the State Council co-opted for any
                  vacancy;
              (d) the names of members elected as Chairman and Vice-
                  Chairman of the State Council from time to time;
              (e) the name of the Secretary of the State Council and his
                  residential address;
               (f) address of the State Council, and intimations as to its hours of
                   work and holidays;
              (g) the name and address of the member elected to the Council
                  and the date of election;
              (h) before the 31st day of December each year a statement as to
                  the number of Disciplinary matters taken on file, number of
                  cases disposed of and number of cases pending.
         19. The Secretary of each State Bar Council shall keep the Bar
         Council of India informed of all proceedings in any Court or
         Tribunal instituted by or against the Bar Council, and shall wherever
         necessary send copies of such proceedings.
         20. Every State Council shall arrange for the audit of its accounts in
         time in accordance with its rules and send forthwith after audit, the
         copy of the audited accounts together with a copy of the report of the
         auditors thereon to the Council.
         21. Rule deleted as Section 46 omitted by Advocates Amendment
         Act, 1993.
         22. (a) The State Councils shall give due publicity to their rules.
              (b) The State Councils shall furnish information of the names of
                  persons (with their roll numbers and other necessary
                  particulars) removed from its rolls or suspended under
                  Chapter V of the Act or who voluntarily suspend practice
                  and of those who resume practice, to all the Bar Associations
                  and the High Courts and the Subordinate Courts in the State.
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         23. (a) The names of advocates shall be entered in the rolls without
                 suffixes, prefixes, titles or degrees.
             In the case of person who has taken a degree in law from any
         University, the name shall be the same as entered in the degree or
         other certificate granted by the University; in the case of a Barrister,
         as in the certificate of call to the Bar;
             In the case of a Vakil, Pleader or Attorney or Mukhtar, as it is in
         certificate of entry as such Vakil, Pleader or Attorney or Mukhtar and
            In the case of any person previously enrolled as an advocate,
         whether he holds a degree in law or not, as in the certificate of such
         admission.
             In the case of any person not falling under any of the above
         categories, the name shall be such as the State Council or the
         Enrolment Committee may determine.
             (b) The name as entered in the roll of the State Council shall not
         be altered in any respect except when;
                (i) on an application for that purpose, the State Council accords
                    its permission;
               (ii) a notice thereof is thereafter affixed on the notice board of
                    the State Council and published in the local gazette in one
                    issue or in a local English newspaper as the State Council
                    may specify and
              (iii) the applicant defrays all the necessary costs thereof.
            (c) Every State Council shall forthwith communicate to the
         Council, the change if any in the name of any advocate on its rolls.
         24. (a) When the name of an advocate is removed from the rolls or
         an advocate is suspended from practice or otherwise punished under
         an order of any Disciplinary Committee or an order of the Supreme
         Court under Section 38, or when an intimation of voluntary
         suspension from practice is received from the advocate, the State
         Council in respect of a person in its roll and the Council in respect of
         a person whose name is not in any State Roll, shall furnish
         information thereof giving the name of the advocate, his roll number
         and date of enrolment, his address, nature of the punishment
         inflicted-


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               (i) to the Registrar of the High Court of the State;
              (ii) to the Registrar of the Supreme Court of India;
             (iii) to the Bar Association in the High Court;
             (iv) to the District Court of the State, and
              (v) to such other authorities as the State Council or the Council
                  may direct.
            (b) The State Bar Councils and the Bar Council of India shall also
         cause to be published in the State Gazettes or the Gazette of the
         Government of India as the case may be, information relating to the
         removal from the roll or the suspension of an advocate for
         misconduct.



                                                 ——————————————————————————




           RULES MADE BY THE CENTRAL GOVERNMENT UNDER
         SECTION 49-A OF THE ADVOCATES ACT, 1961 RE : RIGHT OF
           PRACTISING ADVOCATES TO TAKE UP LAW TEACHING*
               Government of India Ministry of Law, Justice & Company
                       Affairs, Department of Legal Affairs.
                                                NOTIFICATION
            G.S.R in exercise of the powers conferred by Section 49A of the
         Advocates Act, 1961 (25 of 1961), the Central Government hereby
         make the following rules, namely:-
         1. Short title and commencement :
              (1) These rules may be called the Advocates (Right to take up
                  Law teaching) rules, 1979.
              (2) They shall come into force on the date of their publication in
                  the Official Gazette.
         2. Definitions
         In these rules “Act’ means the Advocates Act, 1961 (25 of 1961).
         —————————————————————————————————————————————————

              * Published in the Gazette of India on 26-10-1979

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         3. Right of practising advocates to take up law teaching.
             (1) Notwithstanding anything to the contrary contained in any
         rule made under the Act, an advocate may, while practising, take up
         teaching of law in any educational institution which is affiliated to a
         University within the meaning of the University Grants Commission
         Act, 1956 (3 of 1956), so long as the hours during which he is so
         engaged in the teaching of law do not exceed three hours in a day.
             (2) When any advocate is employed in any such educational
         institution for the teaching of law, such employment shall, if the
         hours during which he is so engaged in the teaching of law do not
         exceed three hours, be deemed, for the purposes of the Act and the
         rules made thereunder, to be a part-time employment irrespective of
         the manner in which such employment is described or the
         remuneration receivable (whether by way of a fixed amount or on
         the basis of any time scale of pay or in any other manner) by the
         advocate for such employment.
         (No. F 3 (33)/77-IC)




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                MODEL SCHEMES FOR WELFARE OF ADVOCATES
                    FRAMED BY BAR COUNCIL OF INDIA

         I. SCHEME FOR GRANTING FINANCIAL ASSISTANCE TO
            INDIGENT    PRACTISING    ADVOCATES   WHEN
            SUFFERING FROM SERIOUS AILMENT.
         (1) These rules shall be known as “Rules for grant of financial
         assistance to Indigent Practising Advocates suffering from Serious
         Ailment” and shall apply to all such Advocates practising in the
         State.
         (2) These rules shall come into force from the date notified by the
         Bar Council of India * .
         (3) Definitions :
              (a) “Applicant” shall mean an advocate on the roll of the State
                  Bar Council within whose jurisdiction he is practising and
                  applying for the financial assistance to such State Bar
                  Council.
              (b) “Bar Council of India” means the Bar Council constituted
                  under Section 4 of the Advocates Act.
              (c) “Bar Council of India Advocates Welfare Committee” means
                  a committee constituted under Rule 44A (1) of the Bar
                  Council of India Rules under Part VI, Chapter II, Section IV-
                  A.
              (d) “Bar Council of India Advocates Welfare Committee for the
                  State” shall mean the Advocates Welfare Committee
                  constituent for the State under Rule 44A (2)(i) of the Bar
                  Council of India Rules under Part VI, Chapter - II, Section
                  IV- A.
              (e) “Indigent Advocate” means any practising advocate, who is
                  unable to maintain himself and his family and is also unable
                  to meet the costs of his treatment in case of serious ailment.
               (f) “Family” shall mean the advocate’s wife or in the case of a
                   female, her husband, his or her minor children and aged

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              * Came into force from 19th July, 1998 (Res. No. 64/98)


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                     parents actually dependent on the applicant advocate for
                     maintenance.
              (g) “Fund” means fund constituted under the Bar Council of
                  India Advocates Welfare Rules as contained under Part VI,
                  Chapter II, Section IV-A of the Bar Council of India Rules
                  for the Scheme for Financial Assistance to Indigent Practising
                  Advocates when suffering from serious ailment in that State.
              (h) “Serious Ailment” will include ailment of serious nature
                  affecting brain, heart, lungs, abdomen or compound fracture
                  or any part of the body requiring treatment for more than one
                  month.
               (i) “State Bar Council” means Bar Council constituted under
                   Section 3 of the Advocates Act.
         (4) An indigent advocate practising in any court, tribunal or before
         any local authority in India shall be entitled to apply for appropriate
         financial assistance in case of his serious ailment, compelling him to
         remain confined to bed for more than one month, in the form
         prescribed for the purpose or in a form similar thereto addressed to
         the Chairman of the State Bar Council concerned. Such application
         shall be submitted in duplicate to the State Bar Council within whose
         jurisdiction the advocate is practising and such application must be
         recommended by the Executive Committee of the Bar Association of
         which the advocate concerned is a member and/or State Bar Council
         is otherwise satisfied and must also be certified by a doctor attending
         on him.
             Provided that the State Bar Council suo moto or on the
         information received from any other source refer the case to the
         Advocates Welfare Committee of the State. On receipt of such
         application/applications or such reference by the State Bar Council
         the Secretary of the State Bar Council shall place the same before the
         Advocates Welfare Committee and shall make such enquiries in
         respect thereto as may be necessary as expeditiously as possible.
         (5) The Advocates Welfare Committee for the State when decided to
         grant financial assistance in an appropriate case shall sanction such
         amount as may be necessary to complete any operation or treatment
         connected with the ailment of the Advocate concerned not exceeding
         Rs. 1,500/- and may also sanction such monthly assistance to the

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         applicant towards treatment and costs of medicines etc, and for
         maintenance of his family for a period of three months at the rate of
         not exceeding Rs. 500/- per month.
         (6) In case the Advocates Welfare Committee for the State considers
         in a given case that financial assistance is utmost necessary beyond
         the limit, provided under Rule (5), it shall refer to the Bar Council of
         India with its comments. The Advocates Welfare Committee of the
         Bar Council of India may sanction a sum upto Rs. 10,000/- for
         treatment of the ailment.
         (7) The Bar Council of India may on the recommendation of its
         Advocates Welfare Committee and the recommendation of the State
         Bar Council may in an appropriate hard cases sanction ex-gratia upto
         a sum of Rs. 10,000/- from the fund of the Bar Council of India
         constituted under Rule 41(2) of the Bar Council of India Advocates
         Welfare Rules.
             Explanation : “hard cases” means the dependent of the deceased
         advocate have no financial means and in the circumstances
         immediate help is felt necessary.
         (8) Financial grant to the Advocate concerned shall ordinarily be
         paid without delay. If the Advocate is unable to come for receiving
         the money so sanctioned, the office of the State Bar Council may
         send it to the advocate concerned by money order or to the
         representations of such advocate specially by him in writing to the
         satisfaction of the Secretary, State Bar Council and on granting an
         appropriate receipt for such payment money so sanctioned or
         monthly maintenance of the Advocate shall be sent by the first week
         of every month for such grant on obtaining an appropriate receipt.
         (9) The State Bar Council shall maintain proper records of all the
         records received and amounts sanctioned and receipt obtained
         thereof.
         (10) If any advocate makes any statement or furnishes any
         information which is proved to be false to his knowledge, it shall
         amount to professional misconduct under Section 35 of the
         Advocates Act.
         (11) If the Advocates Welfare Committee for the State subsequently
         finds that any statement given or evidence adduced by the applicant
         was false in material particulars the Committee shall refer the matter

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         to the State Bar Council with its report and the State Bar Council may
         call upon the applicant to refund the entire amount given as
         assistance with such interest as it may deem fit and the applicant
         shall comply with such directions.
         (12) The Advocate aggrieved of any order passed by the State Bar
         Council under Rule 10 may file an appeal to the Bar Council of India
         within 90 days. The Bar Council of India may either dismiss the
         appeal summarily or in case it finds a case for setting-aside or
         modifying the order of the State Bar Council the order shall be
         passed only after notice to the concerned State Bar Council.




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         II. FINANCIAL ASSISTANCE TO INDIGENT & DISABLED
         ADVOCATES : -
         1. These rules shall be known as “Rules for Financial Assistance for
         Indigent and Disabled Advocates practising in India.”
         2. These rules shall come into force with effect from the date notified
         by the Bar Council of India.*
         3. Definitions:-
             (a) “Applicant” shall means an advocate on the roll of the State
                  Bar Council within whose jurisdiction he is practising and
                  applying for the financial assistance to such State Bar
                  Council.
             (b) “Bar Council of India” means the Bar Council constituted
                  under Section 4 of the Advocates Act.
             (c) “Bar Council of India Advocates Welfare Committee” means
                  a Committee constituted under Rule 44(1) of the Bar Council
                  of India Rules under Part VI, Chapter II, Section IV-A.
             (d) “Bar Council of India Advocates Welfare Committee for the
                  State” shall mean the Advocates Welfare Committee
                  constituted for the State under rule 44A (2) (i) of Bar Council
                  of India Rules under Part VI, Chapter II, Section IV-A.
             (e) “Disabled Advocate” shall mean an advocate, whereby
                  reason of any physical, mental or other infirmity is unable to
                  practise the profession of law.
              (f) “Family” shall mean the Advocate’s wife or in the case of
                  female, her husband, his or her minor children and aged
                  parents actually dependent on the applicant advocate for
                  maintenance.
             (g) “Fund” means fund constituted under the Bar Council of
                  India Advocates Welfare Rules for the scheme for assistance
                  to Indigent and Disabled Advocates practising in the State.
             (h) “Indigent Advocate” shall mean an advocate who has to
                  maintain himself and his family from his profession and other
                  income.
              (i) “State Bar Council” means Bar Council constituted under
                  Section 3 of the Advocates Act.
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              * Came into force from 19th July, 1998.


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         4. Any person desirous of obtaining financial assistance under these
         rules shall submit an application to the Chairman of the State Bar
         Council. The State Bar Council may also give financial assistance as
         it may deem fit suo motu or on the information received from any
         other source. The application shall be submitted in duplicate duly
         recommended by the Executive Committee of the Bar Association of
         which the advocate concerned is member and/or the Advocates
         Welfare Committee of the State is otherwise satisfied.
         5. On receipt of such application or applications the Advocates
         Welfare Committee for the State shall make such enquiries in respect
         thereto as may be necessary as expeditiously as possible.
         6. The Advocates Welfare Committee for the State when decided to
         grant financial assistance in an appropriate case shall sanction such
         sum as may be necessary, but in any case it shall not exceed Rs.
         3,000/-. Provided that if the Advocates Welfare Committee considers
         that in a given case the applicant should be given lump-sum amount
         in addition to annual or monthly grant the Advocates Welfare
         Committee shall record its reasons and refer to the State Bar Council.
         The State Bar Council may sanction a sum of Rs. 10,000/- keeping in
         view its capacity to pay from the fund.
         7. Financial grant to the indigent and/or disabled advocate shall
         normally be paid on monthly basis and the amount shall ordinarily
         be paid to the advocate concerned. If the advocate concerned is
         unable to come for receiving money, the office of the State Bar
         Council may send it to the advocate concerned by Money Order or a
         Bank Draft or to the advocate concerned by specially authorised by
         him in writing to the satisfaction of the Secretary of the State Bar
         Council on obtaining appropriate receipt of such payment.
         8. The grant of financial assistance to an indigent and/or disabled
         advocate shall be sanctioned annually and may be paid on a monthly
         basis and in case of necessity such sanction may be renewed after
         expiry of the year for which the sanction was already granted.
         Provided that financial grant to such advocate shall cease as soon as
         the advocate concerned ceases to be indigent or disable for which
         financial assistance was allowed ceased to exist.




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         9. If any advocate makes any statement or furnishes any information
         which is proved to be false to his knowledge, it shall meant to
         professional misconduct under Section 35 of the Advocates Act.
         10. If the Advocates Welfare Committee for the State subsequently
         finds that any statement given or evidence adduced by the applicant
         was also false in material particulars the committee shall refer the
         matter to the State Bar Council with its report and the State Bar
         Council may call upon the applicant to refund the entire amount
         given as assistance with such interest as it may deem fit and the
         applicant shall comply with such directions.
         11. The advocate aggrieved of any order passed by the State Bar
         Council under Rule 10, may file an appeal to the Bar Council of
         India within 90 days. The Bar Council of India may, either dismiss
         the appeal summarily or in case it finds a case for setting aside or
         modifying the order of the State Bar Council, the order shall be
         passed only after notice to the concerned State Bar Council.




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         III. SCHEME FOR LIBRARY DEVELOPMENT :-
         1. These rules shall be known as “Bar Council of India Advocates
         Welfare Library Development Rules”.
         2. These Rules shall come into force from the date as notified by the
         Bar Council of India.*
         3. Definition :
              (a) “Applicant” means a Bar Association registered under the
                  Societies Registration Act or so affiliated with the State Bar
                  Council within whose jurisdiction the Bar Association
                  situated and has submitted an application for Library
                  development under the rules.
              (b) “Bar Association” means the Bar Association registered
                  under the Societies Registration Act or so affiliated with the
                  State Bar Council within whose jurisdiction the Bar
                  Association is situated.
              (c) “Bar Council of India “means the Bar Council constituted
                  under Section 4 of the Advocates Act.
              (d) “Bar Council of India Advocates Welfare Committee” means
                  the committee constituted under Rule 44A (1) of the Bar
                  Council of India Rules under Part VI, Chapter II, Section IV-
                  A.
              (e) “State Bar Council” means the Bar Council constituted under
                  Section 3 of the Advocates Act.
               (f) “Bar Council of India Advocates Welfare Committee for the
                   State” shall mean the Advocates Welfare Committee
                   constituted for the State under Rule 44A(2) (i) of the Bar
                   Council of India Rules, Part VI, Chapter-II, Section-IV-A.
              (g) “Fund” means the fund constituted under the Bar Council of
                  India Advocates Welfare Rules provided under Part VI,
                  Chapter II, Section - IV-A of the Bar Council of India Rules
                  for the Scheme for Library Development.
              (h) “Financial Year” means the year from 1st April to 31st March
                  of the next year.
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              * Came into force from 19th July, 1998.


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              (i) “Application Form” means the form so prescribed by the
                  Committee from time to time for applying for financial
                  assistance to the Library of the Bar Association.
         4. Any High Court, District Court, Sub-Divisional Court, Tehsil or
         Taluka Court, Bar Association will be entitled to apply for annual
         grant to the Advocates Welfare Committee of the Bar Council of
         India for that State in the form prescribed under these rules and will
         make necessary declearation as prescribed therein and supply such
         information about the functioning of the concerned library as may be
         required by the said Committee.
         5. The Advocates Welfare Committee shall consider such
         applications twice a year and sanction the appropriate grant to such
         applicant-Bar Association for development of the library.
         6. The Bar Association which received the amount once will not
         ordinarily be eligible again till after the lapse of three years.
         7. The Bar Association while making an application for grant to the
         Advocates Welfare Committee for the State append a resolution of
         the Association deciding to seek the grant an approved list of books
         in duplicate and also their resolution to generate a sum of at least
         10% of the proposed grant for purchase of books and equipment in
         their library.
         8. The grant will be given not in cash but by way of books desired to
         be purchased by the Association.
         9. As far as may be, the fund to be allocated to each Bar Association
         under these rules, be in accordance with the total strength of the
         advocates of such Bar Association.
         10. The books that will be supplied under this scheme shall bear
         stamp containing the following inscription :-
         “BAR COUNCIL OF INDIA ADVOCATES WELFARE FUND FOR
         THE STATE LIBRARY DEVELOPMENT SCHEME”
         11. The Bar Association receiving the grant will maintain a list of
         books supplied to it.
         IV. RULES FOR FINANCIAL ASSISTANCE TO STATE BAR
         COUNCILS/ADVOCATES UNDER RULE 44–B OF THE BAR
         COUNCIL OF INDIA RULES.



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            (1) These rules shall be known as the Scheme for Financial
         Assistance to the State Bar Councils under Rule 44–B of the Bar
         Council of India Rules.
             (2) The scheme shall came into force immediately.*
             (3) These schemes shall be applicable to only such State Bar
         Councils which have remitted the sum in accordance with the Rule
         41 (2) of the Bar Council of India Rules.
             (4) That on receiving information from the Chairman of the State
         Bar Council or Member, Bar Council of India from that State, the
         Chairman, Bar Council of India on being satisfied by such report
         may immediately sanction a reasonable amount not exceeding Rs.
         5,000/-in an individual case and Rs. 25,000/-in case of some
         calamity involving more than one advocate and shall report to the
         Advocates’ Welfare Committee of the Bar Council of India. The
         financial assistance to the State Bar Councils will be available in any
         of the following cases:—
             (a) The advocate or advocates have suffered seriously on
         account of some natural calamity or;
             (b) the advocate or advocates have died an unnatural death, due
         to an accident or natural calamity or any other cause of like nature,
         or;
             (c) the advocate or advocates have suffered or is suffering from
         such serious disease or illness which is likely cause death if no
         proper treatment is given and the advocate requires financial
         assistance without which he would not be able to get proper
         treatment and has no personal assets except a residential house to
         meet such expenditures, or;
             (d) the advocate or advocates become physically disabled or
         incapacitated to continue his profession on account of natural
         calamity or accident or any other cause of like nature.
             (5) That the amount sanctioned under rule 4 shall be placed at
         the disposal of the Advocates Welfare Committee of the Bar Council
         of India for the State and the said State Committee shall maintain
         separate account and send the same to the Bar Council of India
         within three months from the date of the receipt thereof.
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              * Came into force from 19th July, 1998.


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             (6) That the Advocates Welfare Committee of the Bar Council of
         India on receiving such applications duly recommended by the State
         Bar Councils, may sanction a sum provided in the different schemes
         prepared by the Bar Council of India.




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              THE BAR COUNCIL OF INDIA ADVOCATES WELFARE
                             SCHEME, 1998*
         1. Part A : Preliminary
               (i) This Scheme may be called the “Bar Council of India
                   Advocates Welfare Scheme, 1998”.
              (ii) It shall come into force on the 1st of November, 1998.
              (iii) Subject to the provisions of the Scheme, any advocate
                    enrolled with any State Bar Council in India shall be entitled
                    to become a member of the Scheme after submitting an
                    application in Form ‘A’.
              (iv) The maximum age at which an advocate may become a
                   member of the Scheme is 65 years.
               (v) The normal retirement of the member is 90 years.
         2. Part B : Subscription
               (i) Every applicant shall pay an admission fee of five hundred
                   Rupees in lump sum with the application.
              (ii) Every member shall pay an annual subscription of Rs. 750/-
                   (Rupees Seven hundred and fifty) per year on or before 31st
                   of July of every year.
                     Alternatively a member may pay a lump sum contribution of
                     Rs. 7500/-(Rupees Seven thousand five hundred) at the time
                     of joining the Scheme and in that event he shall not be
                     required to pay any annual subscriptions.
              (iii) In case of default in depositing the subscriptions, interest at
                    the rate of fifteen percent per annum shall be charged on
                    every year’s default.
         3. Part C : Administration
               (i) The scheme shall be administered by the Advocates Welfare
                   Committee of the concerned State Bar Council.
              (ii) A welfare fund by name “All India Advocates Welfare Fund”
                   or any other name which the Bar Council of India may
                   decide, shall be established with the subscriptions received
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              * Came into force w.e.f. 19th July 1998 vide Resolution No. 64/1998.


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                    from the members, and income which may be received from
                    other sources and in each of the State separate accounts shall
                    be opened.
              (iii) The moneys of the fund shall be invested in
                    securities/investments as may be considered appropriate by
                    the Advocates Welfare Committee keeping in view the safety
                    of the fund and ensure higher returns on the Fund.
              (iv) The Advocates Welfare Committee shall have the power to
                    appoint with the consent of the Bar Council of India, any
                    person or persons with requisite qualifications to act as the
                    Secretary/Secretaries, Manager/Managers or Registrars of the
                    Fund at such remuneration and on such terms and conditions
                    and with such powers as the Advocates Welfare Committee
                    may think fit. The Committee may also employ any person
                    or persons to do any legal, accounting, actuarial any other
                    work which they may consider necessary or expedient in
                    connection with the management of the fund or of the assets
                    thereof.
               (v) An actuarial valuation shall be carried out by a qualified
                    Actuary every two years to ascertain the solvency of the
                    Fund and to examine the possibility of improvement of
                    benefits.
              (vi) The account of the fund shall be maintained in India and
                    shall contain such particulars as the Advocates Welfare
                    Committee may think proper and as be required by law. As
                    soon as possible after 31st day of March in each year, the
                    Committee shall take a general account of the assets and
                    liabilities of the fund and shall prepare a balance sheet and
                    Revenue Account showing the income and expenditure,
                    during the year terminating on such thirty first day of March
                    in such form as may be considered suitable by the Advocates
                    Welfare Committee.
                    The first accounting period will be from 1st August, 1998 to
                    31st March, 1999. Thereafter the accounting year shall be
                    from 1st April to 31st March of each year.
             (vii) The accounts of the fund shall be audited yearly by a
                    Chartered Accountant or a firm of Chartered Accountants,
                    who shall have an access to all the books, papers, vouchers

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                     and documents connected with the Fund, and who shall in
                     writing report to the Advocates Welfare Committee on the
                     annual accounts. A copy of audited accounts shall be
                     furnished to the Bar Council of India.
         4. Part B : Refusal/Removal from the membership of the Fund
               (i) If any advocate is refused admission to the membership of
                   the scheme, he may appeal to the Advocates Welfare
                   Committee of the Welfare Fund of the Bar Council of India
                   within three months from the date of refusal. The Advocates
                   Welfare Committee may after giving, due opportunity of
                   hearing to the concerned advocate and the Bar Council of
                   India, direct that such advocate may be admitted to the
                   membership of the Scheme. The order so passed shall be
                   final.
              (ii) If any member is expelled from the membership of the
                   concerned State Bar Council or otherwise ceases to be a
                   member of that State Bar Council, then his name shall be
                   liable to be deleted from the membership of this scheme and
                   the annual subscription/lump sum contribution paid by him
                   together with 6% simple interest per annum shall be paid to
                   him.
                     Provided that no order of deletion of name from the
                     membership of the scheme shall be made except on the
                     recommendation of the concerned Advocates Welfare
                     Committee and without hearing the concerned member and
                     such order shall be passed by the State Bar Council in its
                     general meeting after such enquiry, as may be necessary.
              (iii) Name of the member shall stand removed from the scheme
                    automatically if he is in arrears of annual subscription for a
                    period of three consecutive years.
              (iv) An advocate who is so removed from the membership of the
                   scheme, can only be re-admitted on payment of arrears of
                   subscriptions due against him alongwith interest at the rate of
                   15% per annum and such other penalty not exceeding Rs.
                   500/- (five hundred only) as may be imposed by the
                   Advocates Welfare Committee provided his name is restored


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                     or continues on the State roll maintained by the concerned
                     State Bar Council.
         5. Part E: Benefits on early retirement from the Scheme
               (i) If a member of the Scheme who completes a period of 5
                   years after he becomes a member of the Scheme shall,
                   subject to other provisions of the scheme, be entitled to seek
                   voluntary retirement from the membership and to receive the
                   amount of annual subscription/lump sum contribution
                   deposited by him alongwith the simple interest at the rate of
                   six percent per annum from the date of deposit made by him.
              (ii) Any member suffering from total permanent disablement
                   shall be allowed to retire from the scheme, but the member
                   will have to seek retirement as an advocate and will not be
                   entitled to be enrolled thereafter and become a member of
                   the Scheme. He shall be entitled to the benefits as per Table
                   II-A/II-B of the Scheme appended to the Scheme and the
                   Advocates Welfare Committee in special circumstances for
                   reasons to be recorded may allow claim upto Rs. 50,000/-
                   (Rupees fifty thousand only).
             (iii) A member has the option to seek voluntary retirement from
                   the membership any time after attaining 75 years of age but
                   in any case member would retire on compilation of 90 years
                   or on completion of 40 years of membership whichever is
                   earlier.
                     (a) If the member retires any time after attaining 75 years of
                     age before completion of 40 years of membership or 90
                     years of age 90% of the maturity value shown in Table-I
                     shall be paid to him depending upon his completed number
                     of years of membership.
                     (b) If the member retires after completion of 40 years of
                     membership he shall be entitled to full maturity value shown
                     in Table-I depending on his completed number of
                     membership on the date of his retirement.
              (iv) Notwithstanding anything contained in this scheme to the
                   contrary, if any advocate after his admission to the Scheme
                   joins any employment, he shall be entitled for refund of all

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                     his annual subscriptions/simple interest from the date of his
                     annual subscriptions/lumpsum contribution.
         6.    Part F : Benefits payable on death/illness while continuing as a
                        Member of the Scheme.
               (i) In case any member dies or acquires total permanent
                   disablement at any time after becoming a member of the
                   Scheme, he or his nominee/dependents or other legal heirs,
                   shall be entitled for a sum as per Table II-A/Table II-B of the
                   Scheme appended to the Scheme.
                     Explanation : - For the purpose of this clause, dependants
                     means the spouse, minor children and unmarried daughters.
              (ii) Advocates Welfare Committee on an application made to it in
                   the prescribed form after being satisfied about genuineness
                   of the claim, may grant ex-gratia payment from the fund.
                     In case a member of the Scheme is hospitalised for at least
                     one month or undergoes a major surgery or suffering from
                     paralysis, cancer, unsoundness of mind and/other similar
                     serious ailments on the production of a certificate from the
                     Chief Medical Officer concerned to that effect, he may be
                     paid an amount not exceeding ten thousand rupees.
                     Provided that a subsequent claim shall not be entertained
                     unless a period of three years from the date of first payment
                     has elapsed.
         7. Part G : Benefits payable on normal retirement at age 90 years
            or on completion of 40 years of membership whichever is earlier.
         (a) For Members who are paying annual contribution of Rs. 750/-
             per   annum.
               (i) The maturity benefit payable on retirement at age 90 years or
                   above completition of 40 years of membershp will be as
                   shown in Table-I of the Scheme.
              (ii) Further, as an additional benefit for a member who has
                   completed 20 or more years of membership and is aged
                   below 65 years, a Medi-claim Policy on the life of the
                   member and his wife for a sum of Rs. 1 lakh each will be
                   purchased from New India Assurance Co. Ltd. or any other

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                     subsidiary Company of General Insurance Corporation of
                     India covering Hospitalisation/ Domiciliary Hospitalisation
                     benefits from age 65 to 70, provided the member and his
                     wife are in good health at the time of taking out the policy.
         (b) For members who paid a lump sum contribution of Rs. 7,500/-
               (i) The maturity benefits payable on retirement of age 90 years
                   or on completion of 40 years of membership will be as
                   shown in Table-I of the Scheme.
              (ii) Further as an additional benefit for a member who has
                   completed 20 or more years of membership and is aged
                   below 65 years, a Medi-claim Policy on the life of the
                   member and his wife for a sum assured of Rs. 1 lakh each
                   will be purchased from New India Assurance Co. Ltd or any
                   other subsidiary Company of General Insurance Corporation
                   of India covering Hospitalisation/ Domiciliary Hospitalisation
                   benefits from age 65 to 70 years provided, the member and
                   his wife are in good health at the time of taking out the
                   policy.
         8. Part H: General
               (i) An appeal in the prescribed form may be made to the Bar
                   Council of India against the decision of the Advocates
                   Welfare Committee within 30 days from the date of such
                   order and shall be accompanied with the copy of the decision
                   appealed against and shall be filed within 30 days of the
                   receipts of the order. The decision of the Bar Council of
                   India shall be final.
              (ii) In case the Scheme is silent about any matter, such matters
                   shall be decided by the Advocates Welfare Committee in
                   consultation with the Bar Council of India.
             (iii) Those Advocates who join this Scheme shall be entitled to
                   the benefits of any other Scheme for the time being in force.
              (iv) With respect to process of payment of all claims under this
                   Scheme, Bar Council of India may lay down the guidelines
                   for this purpose.
         9. A Schedule showing the benefits offered under the Scheme is
            enclosed :
                                                                                                                  45
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              Encl : Schedule (Table I, IIA and IIB) showing the benefits.
            Scheme approved by the BCI in its meeting held on 19th July,
         1998. (Item no. 79/1998)
            Scheme circulated to State Bar Councils vide letter No.
         2400/1998 dt. 22-10-1998.




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                     ALL INDIA ADVOCATES WELFARE SCHEME
                          SCHEDULE SHOWING BENEFITS
                                  TABLE — I (MATURITY VALUE)
         Completed years                        Maturity Value        Maturity Value
         of Membership                          (Lumpsum Contribution (Annual
                                                Rs. 7,500/-)          Contribution
                                                                      Rs. 750/- per year

                                                         Rs.                                     Rs.
             1.                                         1293                                       0
             2.                                         2163                                       0
             3.                                         3129                                       0
             4.                                         4201                                       0
             5.                                         5390                                       0
             6.                                         6466                                       0
             7.                                         7915                                     860
             8.                                         9531                                    2491
             9.                                        11329                                    4305
            10.                                        13329                                    6323
            11.                                        15288                                    8303
            12.                                        17761                                   10797
            13.                                        20519                                   13581
            14.                                        23599                                   16688
            15.                                        27040                                   20160
            16.                                        30789                                   23944
            17.                                        35133                                   28325
            18.                                        39146                                   32380
            19.                                        44526                                   37807
            20.                                        50580                                   43912
            21.                                        55426                                   48816
            22.                                        62904                                   56357
            23.                                        71355                                   64879
            24.                                        80588                                   74191
            25.                                        88777                                   82467

                                                                                                                  47
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           26.                                       100772                                  94559
           27.                                       112647                                 106542
           28.                                       125766                                 110780
           29.                                       140328                                 134474
           30.                                       156492                                 150785
           31.                                       174434                                 168890
           32.                                       194349                                 188986
           33.                                       216455                                 211294
           34.                                       240993                                 236054
           35.                                       268230                                 263539
           36.                                       298463                                 294047
           37.                                       332022                                 327911
           38.                                       369272                                 365499
           39.                                       410620                                 407223
           40.                                       456516                                 543536

                     ALL INDIA ADVOCATES WELFARE SCHEME
                              Schedule Showing Benefits
                                                   Table – II – A
                       (In cases where a lumpsum payment of Rs. 7500/-
                           is paid at the time of becoming a member)

         Completed years of membership                                                  Maturity Value

               1.                                                                              7909
               2.                                                                              8779
               3.                                                                              9744
               4.                                                                             10816
               5.                                                                             12006
               6.                                                                             30000
               7.                                                                             30000
               8.                                                                             30000
               9.                                                                             30000
              10.                                                                             30000

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             11.                                                                             35000
             12.                                                                             35000
             13.                                                                             35000
             14.                                                                             35000
             15.                                                                             35000
             16.                                                                             50000
             17.                                                                             50000
             18.                                                                             50000
             19.                                                                             60000
             20.                                                                             60000
             21.                                                                             75000
             22.                                                                             75000
             23.                                                                            100000
             24.                                                                            100000
             25.                                                                            100000
             26.                                                                            125000
             27.                                                                            125000
             28.                                                                            150000
             29.                                                                            150000
             30.                                                                            163108
             31.                                                                            183049
             32.                                                                            200965
             33.                                                                            223071
             34.                                                                            247609
             35.                                                                            274864
             36.                                                                            395079
             37.                                                                            338638
             38.                                                                            375888
             39.                                                                            417235
             40.                                                                            463131




                                                                                                                  49
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                     ALL INDIA ADVOCATES WELFARE SCHEME
                              Schedule Showing Benefits
                                                 TABLE – II – B
              (In cases where annual subscriptions of Rs. 750/- per annum are
                                             paid)

         Completed years of                                                             Maturity Value
         Membership

               1.                                                                              791
               2.                                                                             1669
               3.                                                                             2643
               4.                                                                             3725
               5.                                                                             4925
               6.                                                                            30000
               7.                                                                            30000
               8.                                                                            30000
               9.                                                                            30000
              10.                                                                            30000
              11.                                                                            35000
              12.                                                                            35000
              13.                                                                            35000
              14.                                                                            35000
              15.                                                                            35000
              16.                                                                            50000
              17.                                                                            50000
              18.                                                                            50000
              19.                                                                            60000
              20.                                                                            60000
              21.                                                                            75000
              22.                                                                            75000
              23.                                                                           100000

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              24.                                                                           100000
              25.                                                                           100000
              26.                                                                           125000
              27.                                                                           125000
              28.                                                                           150000
              29.                                                                           150000
              30.                                                                           157401
              31.                                                                           175506
              32.                                                                           195602
              33.                                                                           217909
              34.                                                                           242670
              35.                                                                           270155
              36.                                                                           300663
              37.                                                                           334526
              38.                                                                           372115
              39.                                                                           413839
              40.                                                                           460152
                APPLICATION FORM FOR BAR COUNCIL OF INDIA
                          WELFARE SCHEME, 1998
                                              THE STATE BAR COUNCIL OF ≡≡≡≡≡≡≡≡≡
                                                                           (with address) ≡≡≡≡≡≡≡≡≡
                                                                                                   ≡≡≡≡≡≡≡≡≡


                                                    ADVOCATES WELFARE COMMITTEE
                                                   OF THE BAR COUNCIL OF INDIA FOR
                                                                  THE STATE OF ≡≡≡≡≡≡≡≡≡ ≡≡
         Sir,
               I want to become a member of Bar Council of India Welfare
         Scheme, 1998 and my particulars are :
                1. Name

                                                                                                                  51
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               2. Father’s Name
               3. Address
               4. Enrolment No.
               5. Date of Birth
               6. Mode of payment under the Scheme
                               ANNUAL SUBSCRIPTION/LUMP SUM
                                   Draft enclosed for Rs. ≡≡≡≡≡≡≡≡≡
                                      D/D No. ≡≡≡≡≡≡ Date ≡≡≡≡≡≡
             The applicant is the member of the Bar Association and is in
         actual practice. The applicant nominates the following person as
         his/her nominee:
               1. Name of the nominee ≡≡≡≡≡≡≡≡≡≡
                2. Father’s name/husband’s name ≡≡≡≡≡≡≡≡≡≡
                3. Relationship with the applicant ≡≡≡≡≡≡≡≡≡≡
             I hereby give an undertaking that I shall be bound by the Scheme
         and particulars mentioned by me in the application are true and
         correct.


                                                                                                 ≡≡≡≡≡≡≡≡≡≡
                                                                                         Signature
                                   Certification by the Bar Association
                                    where the Applicant is a member
             It is hereby certified that Shri/Ms./Mrs. ≡≡≡≡≡≡≡≡≡≡ Son
         of/daughter of/wife of ≡≡≡≡≡≡≡≡≡≡ is a Member of this Bar
         Association and his/her Membership Number of the Bar Association
         at present is ≡≡≡≡≡≡≡≡≡≡.



                                                                              Seal and Signature of the
                                                                                       President/Secretary


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                                                        NOTES
                1. The sub rule amended w.e.f. 18.6.1977.
                2. The sub-clause added w.e.f. 25.11.1978.
                3. The sub-clause added w.e.f. 25.11.1978.
                4. The sub-clause added w.e.f. 25.11.1978.
                5. The sub-clause added w.e.f. 23.1.1982.

                6. Chapter I amended w.e.f. 6.9.1980.
                7. The Proviso added w.e.f. 4.4.1981.

                8. The rule added w.e.f. 2.5.1981.
                9. Form D - 2 revised from 27.11.1988.
               10. Amount revised from 28.11.1987.
               11. The sub-clause added w.e.f. 7.4.1974.
               12. The sub-clause added w.e.f. 7.4.1979.
               13. The rule amended from 27.11.1988.

               14. The rules under Section 49A of the Act were framed by the Ministry of Law,
                   Justice & Company Affairs and came into force w.e.f. 16.10.1976.
                                 Fees revised on                                 16-9-2006

                 20.2.91        Rule 8 in Chapter II

                                 Part VI proviso amended                         Resolution No. 12/91
                 20.2.91        Rule 6 in Part VI Chapter II
                                 Proviso addes                                   Resolution No 11/91
                 20.2.92        Rule 4(2) in Chapter I

                                 Part III to be deleted                          Resolution No. 5/92
                31.10.92        Rule 40 in Chapter IX                            This rule came into force
                                 Part VI amended                                 from 1.4.93.




                                                                                                                  53
                                             FORM B - 1
                                 (Under Rule 1 (2) of Chapter I, Part V)
Part I/II : Copy of Roll under section 17 (1) (a) (b) of the Advocates Act, 1961 of the Bar Council of
…………… ………………………………………………… sent under Section 19 of the Advocates Act,
1961.
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 S.     Name    Address Date of     Date of Date of Date of If                 Date     of Remarks
 No..                   enrolmen    entry as Birth  Transfer enrolled          enrolment (Particular
                        t under     Vakil,          if any   in                as senior s
                        the Bar     Pleader                  Supreme           Advocate envisaged
                        Councils    or                       Court,            in    case under
                        Act/Advo    Attorney,                date     of       designated Rule)
                        cates Act   if any                   such              as such on
                                                             enrolment         or after 1-
                                                                               12-1961
                                                                                                         Document 60-3




   1      2        3         4          5          6         7          8          9          10
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                                                FORM B - 2
                                  (Under Rule 1 (2) of Chapter I, Part (V)
Part II : Copy of Roll under Sec. 17(1)(b) of the bar Council of ………………sent under Section 19 of the
Advocates Act, 1961
 Roll No.        Name          and Date        of Date of Birth   Date of transfer, Remarks
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                 address           enrolment                      if    any    and
                                   under      the                 particulars
                                   Advocates Act,
                                   1961
        1                  2              3               4              5                6
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